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Qingdao Arbitration Commission
      ARBITRAL AWARD
  QTNGZHONGCAIZI [2015] No. 307




               Between

RIZHAO J&.J MANUFACTURING CO., LTD.

              C laimant



                - and-


     NEW ENGLAND OUTDOOR &
   RECREATIONAL PRODUCTS, LLC.
            Respondent



         Date: 31 Mav 2019
    Qingdao Arbitration Commission
         ARBITRAL AWARD
                                      QINGZHONGCAIZl(2015] No. 307
Claimant (Respondent in counterclaim): Rizhao J&J Manufacturing Co.,
Ltd. Ce1tificate for Uniform Social Credit Code 9137110273472409IC,
residing at Xincun, Street Committee, Rizhao, original legal representative:
Zhang Yan, present legal representative: Zhao \Vei, position: general
manager.
Arbitration Representative:
Hao Zhigang, Liu Zongxiang, Shanghai Allbright (Qingdao) Law Firm
Respondent (Claimant in counterclaim): New England Outdoor &
Recreational Products, LLC., residing at 13 Wood St. \Vest Haven, CT
065 16, USA, Legal Representative: Tracy Forlini. Position: member of
Board
Arbitration representative:
Zhang Meiping, Shandong Deheng Law Firm
Li Qinghua, Shandong Deheng (Jinan) Law Finn
      Qingdao Arbitration Commission (hereinafter as "the Commission")
accepted the arbitration case on May 18, 2015 according to the arbitration
clause in the Distribution Contract signed by the Claimant and the
Respondent on January 20, 20 IO and the Application for Arbitration
submitted by the Claimant.
      The arbitration proceeding of the case has been finished . The
Tribunal hereby issues this award which includes the procedure of the case,
the arbitration claim, counterclaim and defense, evidence provision and
cross-examination, facts of the case, opinions of the T1ibunal respectively
as follows:
      I Arbitration Procedure of the case
      According to Qingdao Arbitration Commission Arbitration Rules
(hereinafter as "Arbitration Rules"), the special provisions for
foreign-related arbitration apply to this case.
      After acceptance of the case, the Commission served the Notice of
Acceptance of Arbitration Case, the Arbitration Rules, Panel of Arbitrators
of Qingdao Arbi tration Commission, Agreement for Composition of
Arbitration Tribunal to the Claimant, and served the Notice of Defense in
Arbitration, Application of Arbitration, Arbitration Rules, Panel of
Arbitrators of Qingdao Arbitration Commission, Agreement for
Composition of Arbitration Tribunal to the Respondent according to the
Arbitration Rules. The Respondent did not submit its statement of defence
within the specified period.
      Within the period specified by the Arbitration Rules, the Claimant
nominated Xiao Peng as the arbitrator for the case, and nominated Hu

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Jiaqiang, Liu Huayi and Liu Huirong as the candidates of the presiding
arbitrator; The Respondent nominated Ji Bin as the arbitrator for the case,
and nominated Li Huanting and Chai Fangsheng as the candidates of the
presiding arbitrator. Hence, on July 28, 2015, the Chainnan of the
Comn1ission appointed Huang Haibo as the presiding arbitrator who,
together with Ji Bin and Xiao Peng, fonned the Arbitral Tribunal to hear
the case. The Commission served the Notice of Composition of the
Arbitral Tribunal and Notice of Heaiing to both the paiiies according to
the Arbitration Rules.
      During the trial of the case, the Respondent filed a counterclaim. The
Commission held that the cow1terclaim is admissible, the Tribunal aru-eed
to hear it together with the original claim, and accepted it on September 25,
2015 and se1ved the Notice of Acceptance of Counterclaim to the
Respondent, served the Notice of Defense to the Counterclaim and
Application of Counterclaim to the Claimant. The Claimant had not
submitted the statement of defense within the specified period.
      During the trial of the case, the Respondent applied to amend the
counterclaim. The Tribunal determined to accept the amendment to
counterclaim, the Commission accepted the Respondent's application to
amend the counterclaim on April 1, 2016 and served the Notice of
Acceptance of Amendment to Counterclaim to the Respondent, served the
Notice of Defense to Amendment to Counterclaim and Application to
amendn1ent to the Claimant. The Claimant had not submitted the
statement of defense within the specified period.
      During the trial of the case, the Respondent requested Qingdao
Arbitration Commission to collect relevant evidence as follows: 1) The
Claimant's (license number: 3711940844) customs declaration forms for
export goods and detailed information of export goods for each momh,
each quatter and each year between January 2010 and August 20 I 5 from
Qingdao Customs of PRC; 2) The Claimant's declaration form for export
drawback lax returns of each quarter and each year between January 2010
and August 20 I 5 from Donggang District Bureau of Rizhao Municipal
State Tax Bureau, as well as the accounting vouchers of J&J during the
foresaid period. The Arbitration Tribunal went to Qingdao Customs on
June 16, 2016 and went to Donggang District Bureau ofRizhao M unicipal
State Tax Bureau on June 29, 2016 to make investigation and collect
evidence. Donggai1g District Bureau of Rizhao Municipal State Tax
Bureau refused lo provide the relevant evidence with the reason that the
tax infonnation of tax payer shall not be provided to the arbitration
institutions according to regulations of the state. Qingdao Customs
provided written and stamped material (42 pages) to the Tribunal. Dze
Customs Declaration Form Numbers, the Trading Countries, QuanJity 01ul
Amount of Mobile Shelters (HS code: 94060000) and Canopies (HS code:
63062200) exported by Rizhao J&J Manufacturing Co., Ltd. between
January 20. 2010 and July 31, 20/5. The Tribunal gave the written
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mate~ial to both the parties during the hearing for cross examination.
        fhe case was J1eard respectively on May 30, 2016, June 6, 2016,
November 10, _2016, January 16, 2017, February 17, 2017 and June 4,
20 18 . The Claunant's atLorneys Hao Zhigang, Liu Zon.gxiang, and the
Respondent's attomeys Zhang Meiping, Li Qinghua attended the hearings,
gave statements and defenses respectively, submitted and cross-examined
the evidence. The Tribunal made investigations and mediation and
 inquired the final opinions of both the parties.
         11. Claims, Counterclaims and Defenses
         l Arbitration claims and defenses
          Claimant: The Claimant and the Respondent signed a Distribution
  Agreement on January 20, 2010. It was agreed that the Respondent, as the
  distributor of the Claimant, distributes such products produced by the
  Claimant as sports products, outdoor products, outdoor shelters, fitness
  equipment, trampolines and electronic products. Both the parties also
  agreed to apply the laws of the People's Republic of China, all disputes
  arising which cannot be settled through negotiation shall be submitted to
  the Commission, and the arbitration shall take place in Qingdao. After
  signing the Agreement, the Respondent purchased the ice hockey goals
  several times from the Claimant and resold them to other persons, but
  there is no transaction between both the parties in other spotts products,
  outdoor products and outdoor shelter products.
          Between l\1arch 28, 2013 and May 3, 2013, the Respondent sent
  order sheet to the Claimant several times in the form of emails to order ice
  hockey goals, and the total value of goods ordered was USDl275006.52.
  Between August 26, 2013 and November 21, 2013, the Claimant delivered
  the goods according to agreement. The facts above can be proved by the
  emails between both the pruties, order sheets, proforma invoices, bill of
  lading and customs declaration forms. However, the Respondent refused
   to pay the goods even after the Claimant asked several times. The
  Respondent owed the Claimant USO 1275006.52 till the date of filing the
  case of arbitration. Failure to pay the goods for a Jong tenn constitutes the
   fundamental breach of the Contract. The Claimant filed the following
  claims in order to protect his legal rights: l) The Respondent pay the
  Claimant USD1275006.52 (According to RMB exchange rate parity of
   inter-bank foreign exchange market on March 9, 2015, I US Dollar equals
   to RMB6. I 563 yuan, the equivalent RMB is 7849322.64 yuan); 2) The
   Respondent pay the Claimant interest from November 20, 2013 to the date
   of actual payment on the basis of the payable amount of goods at the
   benchmark loan rate of the People's Bank of China (RMB606439.00 yuan
   till April 2, 2015); 3) The Respondent undertake the Claimant's attorney
   fee and travel expense due to conducting of the case; 4) The arbitration fee
   of the case be undertaken by the Respondent.
          The Respondent's defense:
           I ) There are serious quality problems in the products sold by the
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   Claimant to the Respondent, causing the products to be rejected by the
   customers. The Respondent has the righ t to refuse to pay the goods
   according to Article 8.1. Until now, due to the quality problems of the
  products provided by the Claimant, the Respondent sti ll has a lot of
  products stored in the warehouse and cannot be sold, causing great loss to
   the Respondent. It is agreed in 8.1 of the Distribution Agreement, at its
  sole cost and expense, the Claimant shall cause rejected nonconforming
  units to conform to Distributor's specifications. ·rhe Respondent had asked
  the Claimant many times to reproduce or change the goods, but aU refused
  by the Claimant. Therefore, the Respondent has the right to refuse to pay
  the goods with serious quality problems.
        2 ) During implementation of the Distribution Agreement, the
  Claimant had never distributed any profit from sales of outdoor prod ucts
  of shelters, canopies, etc. to the Respondent according to the agreement,
 causing great loss to the Respondent, and the loss is much more than the
 amount of ice hockey goals claimed by the Claimant. The Claimam has no
  right to require the Respondent to pay any money, on the contrary. the
 Claimant should distribute profits to the Respondent and pay the penalty
 of breach.
        3 ) There is not any factual or legal basis for the Claimant to req uire
 the Respondent to unde1take the attorney fee, travel expe nse and
 arbitration fee, etc., and should not be suppo1ted. In the Distribution
 Agreement signed by the Claimant and the Respondent, only the attorney
 foe and arbitration fee for handling the product responsibility dispute
 caused by such problems as product quality and flaw can be undertaken by
 the breaching party, and cost for handling the dispute of payment of goods
 is not agreed. Therefore, there is not any basis for the arbitration claims of
 No. 3, 4, and should not be supported.
        Overall, the facts and reasons of the Claimant in the arbitration
 claims are not con-ect, and the Respondent shall not unde1take any
 responsibility.
       2 Counterclaim and defense
        During tiiaJ of the case, the Respondent put forward the
counterclaim: Tn accordance with the clause 1.4 of the Distribution
Agreement, "when the Distributor makes certain changes to the s upplier's
organization, new orders from new customers will go through the
Distributor. New orders from old customers buying di vis ions will go
through suppliers but profit will be split." After signing the Agreement,
the Respondent provided a series of technical services and product
upgrading of the outdoor shelters and canopies, including branding the
product, establishing customer service in the United States, etc., changing
labeling or packaging, redesigning the products the Claimant is infiinging.
Jn the mean time, from the date of signing the Agreement, the Claimant
has sold a large quantity of upgraded products to new and old customers in
North America and Europe and obtained great profits. Furthermore, it is
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agreed in the Distribution Agreement that the Respondent has the
exclusive 1ight to distribute the products all over the world . .According to
Articles 3.2 and 3.3 of the Agreement, if the Claimant wants to distribute
the products, it must first obtain the written approval from the Respondent.
The Claimant shall not sell, distribute, market, lease or otherwise make
available the products all over the world except through the Distributor.
However, the Claimant has continuously violated the Agreement,
especially from year 2013 till now, the Claimant has deliberately sold
large quantity of products to the United States and the North America by
itself and not through the Respondent. The Claimant's action has seriously
violated the Agreement between both the parties and the Claimant shall
pay liquidated damages to the Respondent in accordance with Article l 0
of the Distribution Agreement. fn conclusion, the Claimant has seriously
breached the Agreement and violated the legitimate rights and interests of
the Respondent. In order to protect its legitimate tights and interest, the
Respondent put forward the counterclaims as follows: 1) The Claimant
shall pay sales profits RMB 16881555.80 yuan (According to RMB
exchange rate parity of inter-bank foreign exchange market on September
 I0, 2015, 1 US Dollar equals to RMB6.3772 yuan) to the Respondent; 2)
The Claimant shall pay liquidated damages USD I000000.00 which is
equivalent to Rl\,1B6377200.00 yuan (According to RMB exchange rate
parity of inter-bank foreign exchange market on September 10, 2015, I
US Dollar equals to RMB6.3772 yuan) to the Respondent; 3) The
Claimant shall be liable for attorney fees, arbitration fees and all the other
expenses arising from the claims.
       During the trial of the case, the Respondent changed Is, item of the
counterclaims above into: The Claimant shall pay sales profits
USDI015850.95 (According to RMB exchange rate parity of inter-bank
foreign exchange market on February 16, 2016, l US Dollar equals to
RMB6.3772 yuan, equivalent to RMB 6478284.68 yuan) to the
Respondent.
       In view of the counterclaims of lhe Respondent, the Claimant
defenses:
       1 ) The Distribution Agreement was unilaterally dra'lled by the
Respondent The stipulations of this agreement are obviously unjust,
unreasonable and unfair. These unjust, unreasonable and unfair
stipulations had fundamentally violated the Claimant's right of
independent operation and free trade, as a good-faith enterprise of China.
It had constituted a violation against the fundamental principle of laws of
China, thus these stipulations shall not be acknowledged in our country.
The Distribution Agreement maliciously used the Claimant's distress
position under the grim situation and urgent need to expand exports in
order to survive, and use capital, technology, profit and other promise, to
deceive the Claimant signing the unequal contract with him. The
Agreement not only increased the obligation of the Claimant, deprived the
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  legitimate rights of the Claimant, but also undermined the Claimant's own
 managerial authority as an independent Chinese corporate. For the
 Respondent, it assumed a very small obligation, but got a great benefit and
 the Respondent also pre-designed a variety of exemption provisions. By
 the tem1s of the Agreement and the performing of the Agreement to show
 that the purpose of the Respondent was to obtain non-normal interest, the
 Respondent did not intend to pay in full the Claimant a reasonable price
 from the beginning. In accordance with the relevant provisions of the
 "Contract Law of the People's Republic of China", these standard terms
 shou ld be found to be invalid or to be adopted the interpretation against
 the Respondent. These provisions include: 1.2 SUPPLJER is interested in
 manufacturing the Product and desires to have any and all Product
 exclusively distributed by DISTRIBUTOR in the name of
DISTRIBUTOR all over the world. 1.3 The DISTRIBUTOR desires to
exclusively distribute Product all over the world. 3.1 DISTRIBUTOR
shall have exclusive right to distribute the Product all over the world.
 SUPPLIER shall have the right to distribute the Product by itself in all
other countries excluding North America with written approval from the
Distributor. The supplier shall not appoint any third party as his distributor
and agent of the Product without written approval from the Distributor. 3.3
      During the term of this Agreement, the SUPPLIER (including its
directors, owners, officers, subsidiaries, associate companies or
 undertakings) shall not directly or indirectly: (i) Sell, distribute. market,
 lease or otherwise make available the Product all over the world except
through the DISTRIBUTOR; (ii) Grant a license, franchise or any right to
anyone other than the DISTRIBUTOR for the sale, distribution, marketing,
leasing, production and manufacturing of the Product all over the world.
3.4 The SUPPLIER and/or its employees may help DISTRIBUTOR sell
Products to the extent of prior written authorization from the
DISTRIBUTOR, provided however that, it shall not affect any or all rights
or interested enjoyed by the DISTRIBUTOR under this Agreement in all
aspects. 3.5 DISTRIBUTOR is, and will remain at all times during and
after the term of this Agreement, the sole owner of all trade secrets,
patents, copyrights and all other proprietary information related to Product
and drawings thereof. 9.2 During the term of this Agreement and within
three (3) years after termination of this Agreement if the agreement is
breached by supplier, SUPPLIER agrees that it shall refrain from
communicating whatsoever and/or setting up business relationship with
Customer directly or indirectly, and further agrees that in the event that
any Customer contacts SUPPLIER to purchase the Product, SUPPLIER
shall promptly forward said communication to DISTRIBUTOR in writing,
whether said communication is by e-mail, facsimile, mail or otherwise.
SUPPLIER will to pay to DISTRIBUTOR one million US dollars
( USDI,000,000.00 ), as liquidated damages for breach of Clause 3,
Clause 4, Clause 5, Clause 6, Clause 7, Clause 8 and Clause 9.2 of this
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Agreement by SUPPLIER. The clauses of Distribution Agreen1ent quoted
above were unilaterally drafted by the Respondent. They are obviously
unjust, unreasonable and unfair, had fundamentally violated the
Claimant's right of independent operation and free trade. It had constituted
a violation against the fundamental principle of laws of China, and shall
not be acknowledged in our country.
       2 ) The Respondent had firstly breached the "Distribution
Agreement" by not fulfilling obligations of the "Distribution Agreement".
The pre-conditions of the exclusive sales as well as the profit split and
other applicable provisions under the "Distribution Agreement" do not
exist. The Respondent's failure in perfom., ing its obligations according to
the Distribution Agreement is as follows: l) The Distribution Agreement
signed by and between the Clain1ant and the Respondent on Januruy 20,
20 10, stipulated that the Respondent should make certain change to the
Claimant's organization, then, the provision of exclusive sales, distribution
of profits and other provisions can apply (Article l .4), the so-called
"make ce,tain change to the organizations" means the Respondent change
the organization by means of investment, buying the shares, joint ventures,
mergers and acquisitions and other forms can change the organization.
However, after the conclusion of the "Distribution Agreement", the
Respondent has never made any changes to the Claimant's organization. 2)
According to the Distribution Agreement, "Product" is defined as: Any
product introduced or sold by the Respondent in the light of "Product
Specifications" (Article 2.4). "Product Specifications" is defined as:
specifications or samples the Respondent or customer required or provided
(Article 2.5 A1ticle). According to aforementioned provision, any products
not introduced or sold by the Respondent, are not the Products defined by
the Agreement. There is no evidence that the Claimant's products are
produced according to specifications or samples provided by the
Respondent. 1n fact, the Respondent has never provided any product
specifications or samples. Therefore, the pre-condition of the exclusive
sales and profit split and other applicable provisions under the
"Distribution Agreement" does not exist. 3) The Respondent has never
perfonned their obligation under the "Distribution Agreement", such as
branding the product; finding customers in Norlh Ame1ican or the other
countries; upgrading the new product; changing the label or the packaging;
reviewing or re-designing the product which infringed other persons'
rights. There is no evidence that Respondent ever provided these services
to the Claimant. Particularly, the Respondent had never autho1ized the
Claimant to use their new and old patents, according to the Agreement. 4)
According to the "Distribution Agreement", the Respondent should ensure
the Claimant's sales of products to increase I0% per annum within the
first two years (Article 10). The Addendum A of the Agreement: A) If the
annual sales is less than USD I 0,000,000.00, the supplier will have 8%
profits before taxes. B) If the annual sales is between USDI 0,000,000.00 to
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 20,000,000.00, the supplier will have 6% profits before taxes. 3) If the
 annual sale is more than USD 20,000,000.00, the supplier will have 5%
 profits before taxes. The Respondent has never fulfilled above-mentioned
 obligation, or distributed any profits to the Claimant. Article 67 of
 "Contract Law of the People's Republic of China" stipulates "the defense
 of first-performance", i.e. "\\There the parties owe obligations to one
 another, and where one obligation is to be pcrfonned first and the other
 subsequently, then where the party with the obligation to provide initial
 performance has not performed its obligation, the paity with the obligation
 to provide subsequent performance may refuse the request of the other
 party to provide performance. Where the party with the obligation to
 provide initial performance has performed its obligation in a manner not in
 confo1mity with the parties' agreement, the party with the obligation to
 provide subsequent performance may refuse the corresponding request of
 the other pa1ty to provide performance." ln this case the Respondent had
 firstly breached the "Distribution Agreement" by not fulfill ing obligarions
 of the "Distribution Agreement". As a result, the pre-conditions of the
 exclusive sales as well as the profit split and other applicable provisions
 under the "Distribution Agreement" do not exist.
        3 ) The only circumstance stipulated by the Distribution Agreement
where Claimant needs to split profit with Respondent does not exist in fact.
The Claimant being asked to distiibute profit had no basis. According to
 "Distribution Agreement", there is only one prerequisite that the Claimant
 needs to allocate profits to the Respondent, i.e., Article 1.4. "       When
the Distributor makes ce1tain change to the supplier 's organization ..... .
New orders from old customers buying di visions will go through suppliers
but the profit will be split." Under this article of the Agreement, the
prerequisite to distribution of profit was that the Respondent should make
certain change to the Claimant's organization" (including investment,
buying the shares, joint ventures, mergers and acquisitions and other
forms that can change the organization), however, the Respondent has
never made any change to the Claimant's organization, the prerequisite of
the profit split does not ex ist. In addition, the Respondent did not have any
evidence to prove that "New orders from old customers buying divisions"
were supplied by the Claimant after "Distribution Agreement" was signed.
No supply, no profit, let alone distributing profits to the Respondent.
According to the "Distribution Agreement", there is only one prerequisite
that the Claimant needs to allocate profits to the Respondent. In the other
cases, all the products sold to the third parties by the Claimant are through
the Respondent, there sha!J be no distribution of profits from the Claimant
to the Respondent; on the contrary, the Respondent needs to allocate
profi ts to the Claimant. However, the Respondent has never assigned any
profit to the Claimant.
        4) There is no evidence lo prove that the Claimant has ever sold any
product to the foreign customers without authorization. The Respondent
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shalI bear the liability of failure of providing evidence.
        5) The amount of the counterclaim of the Respondent has no
grounding. The Respondent's counterclaim had no basis. The Respondent
did not subm it any evidence to prove that the Claimant is in breach of the
contractual obligations and therefore he suffered econom ic losses, let
alone any amount of loss. The Respondent shall bear the resu lt of not
being able to provide any evidence. As for the liquidated amount of one
million US dollars, it is an unreasonable amount based upon an unfair
agreement, since the Respondent cannot prove any breach of the Claimant
or it has any loss, the claim of the liquidated amount has not any factual or
legal basis.
          In conclusion, the counter-claim of the Respondent has no factual
or legal basis. The Claimant asks the Tribunal to reject any and all of their
counter-claims.
       ill Evidence provision and cross examination
       1 Evidence provided by the Claimant
       I )Distribution Agreement, prove: A) The Distribution Agreement was
unilaterally drafted by the Respondent. The stipulations of this agreement
are obviously unj ust, unreasonable and unfair. These unjust, unreasonable
and unfair stipulations had fundamentally violated Claimant's 1ight of
independent operation and free trade, as a good-faith enterprise of China.
It had constituted a violation against the fundamental principle of laws of
China, thus, these stipulations shall not be acknowledged in our country. B)
The Respondent itself had breached the "Distribution Agreement" by not
fulfill ing obligations of the "Disttibution Agreement" from the very
beginning. C) According to the Dist:Jibution Agreement, the Respondent
should make certain change to the Claimant's organization, then, the
provision of exclusive sales, distribution of profits and other provisions
can apply (Article I.4), the so-called "make certain change to the
organizations" means the Respondent should change Claimant's
organization by means of investment, purchase of equity, setup of joint
ventures, mergers and acquisitions and other fonns that can change the
structure of Claimant's enterprise. However, after the conclusion of the
"Distribution Agreement", the Respondent has never made any change to
the C laimant's organization. D) Furthermore, according to the Distribution
Agreement, "Product" is defined as: Any product introduced or sold by the
Respondent in the light of "Product Specifications" (Article 2.4). "Product
Specifications" is defined as: specifications or samples the Respondent or
customer required or provided (Article 2.5). According to aforementioned
provision, any products not introduced or sold by the Respondent, are not
the Products defined by the Agreement. There is no evidence that the
Claimant's products are produced according to specifications or samples
provided by the Respondent. ln fact, the Respondent has never provided
any product specifications or samples. Therefore, the pre-condition of the
exclusive sales and profit split and other applicable provisions under the
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"Distribution Agreement" does not exist. E) The Respondent has never
perfonned their obligations under the "Distribution Agreement". such as
branding the product; finding customers in North A.meii can or the other
countries; upgrading the new product; changing the label or the packaging;
reviewing or re-designing the product which infiinged other persons'
rights. There is no evidence that the Respondent ever provided these
services to the Claimant. Particularly, the Respondent had never
authorized the Claimant to use their new and old patents, according to the
Agreement. F) In addition, according to the "Distribution Agreement", the
Respondent should ensure the Claimant's sales of products to increase
10% per annum within the first t\vo years <Article 10). The Addendum A
of the Agreement stipulated: A) If the annual sales is less than
USD I0,000,000.00, the supplier will have 8% profits before taxes. B) If the
annual sales is between USD I 0,000,000.00 to 20,000,000.00, the supplier
will have 6% profits before taxes. C) If the annual sale is more than USD
20,000,000.00, the supplier will have 5% profits before taxes. The
Respondent had never fulfilled abovementioncd obligation, or distributed
any profits to the Claimant.
       Respondent: No objection on the authenticity. However, A) The
Contract was reached on the voluntary and equal basis, the provisions of
the Contract is legal and effective. The "Contract being obviously unfair"
claimed by the Claimant is completely false. B) The Respondent has
perfonned according to the agreement in the Contract such obligations
agreed in the Contract as branding the product, improve or upgrade of
products, changes of labeling or packaging, rev ising the user's operation
manual, reviewing and redesigning the products the suppliers are
infringing, development and maintenance of new and old customers, thus,
the Claimant should pay the relevant profi t to Lhe Respondent. C) The
Claimant's explanation of the profit split clause ( I .4) in the Distribution
Agreement is not correct. According to the agreement in 1.4 of the
Agreement, as long as the Respondent has perfonned the obligation or
actions in Item 2 above, the Claimant should pay the relevant profit to the
Respondent according to the Agreement or the mutual agreement by both
the parties.
       2)Detailed listing of all non-payment items, prove: From August
2013 to November 2013, the Claimant sold 28 batches of goods to the
Respondent, and the total price of goods is USD 1,286,758.50, the
Respondent has not paid the price of goods. TI,e amount in the listing is
more than the Claimant's arbitration claim, but we confirm the claim.
      Respondent: The evidence is made by Claimant unilaterally, and we
don't agree. TI1e contents made unilaterally by one pa1ty should not be
used as evidence in the case and have no evidential effect.
      3)Commercial Invoice (C/f), (No: J&J2l3315, issued on August 22,
2013)
     4)Bill of Lading (BIL) related to the above Commercial Invoice (The
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original fonn ofB/L is electronic. The Claimant has sent the electronic
B/Ls and C/ls to the Respondent through email; The emails for the 28
shipments of goods (the Claimant's evidence No. 3 & 4) are shown during
the hearing, and the annexes are C/ls and 8/Ls].
      5)Goods declaration form for exportation related to the above C/1 &
8/L.
     The evidence 3)-5) is for the l 51 batch of goods in this case, together
proves: About August 22nd, 2013, the Claimant sold one batch of Hockey
Goal, Net and other goods. The total price of the goods is USO 34,680.00.
The Claimant made the export declaration of the goods, consigned to the
Respondent by means of maritime transport, but the Respondent failed to
pay the price of the goods.
     In view of the evidence 3)-5), the Respondent's viewpoint: A) The
evidence is made by Claimant unilaterally, and the descriptions of the
products and prices listed on the invoice are not the same as those on the
8 /L. In the mean time, they are not the same as those listed in the three
Customs Declaration Forms. Evidences No. 3, 4 and 5 are a group of
evidences, but they are contradictive themselves. The authenticity of
Evidence 4 cannot be confi1n1ed. We only confinn the authenticity of
Evidence 5. B) The Respondent does not have complete data about the
speci fie quantity of goods received from the Claimant, especially those
goods with consignee not being the Respondent. Whether the Respondent
has received the shipment or not should be checked after the hearing.
      Claimant: All the evidences submitted by the Claimant are
communications between the emai I of our enterprise and the emai Is of the
Respondent's business staff (including Tomi). The identifications of the
business staff of the Respondent can be shown in the large amount of
evidences provided by the Respondent, and we will state in detail later;
The Respondent did not give any objection after receiving the documents;
Among the evidences provided by the Claimant, the most important piece
is the Export Customs Declaration Form, which has been examined and
sealed by Rizhao Customs. Such detailed information as description of
goods, specifications, mode, port, ship, BIL number, time of shipment,
value of goods is written in detail on the Export Customs Declaration
fo1n1. These pieces of infonnation are corresponding to the infonnation
on commercial invoice and 8/L, and the complete chain of evidence is
formed, sufficient to prove the facts and amounts of shipment shipped by
the Claimant to the Respondent; The large amount of evidences provided
by both the parties exist in the electronic form, only the original customs
declaration forms for export of 28 shipments of goods are issued officially
by the Customs as the competent organ. Jf there is any flaw in other
evidences, we hereby ask the tribunal to use the original customs
declaration forms for export of 28 shipments or goods as the standard.
      Respondent: There are three prices in the commercial invoices,
22200.00, 9600.00, 2880.00, however, the prices are different from those
                                     11
in the three prices of 4588 , 17612, 12480 in the customs declaration forms
provided by the Claimant; In the commercial invoices, two descriptions
are ice hockey goals, and the other is shed, but, in the three customs
declaration forms provided by the Claimant, two descriptions are shed,
and one is ice hockey goal. Tt is obvious that E vidence 3 is not in
conformity with Evidence 5, and the Claimant cannot prove that the
claimed goods have been delivered to the Respondent.
      Claimant: The commercial invoices are documents issued from the
aspect of commerce after negotiation by both the parties on buying and
selling of goods. The Export Custo1ns Declaration Fom, is the document
tor exa1uination and release of the goods from the aspect of export goods
administration. The goods under one commercial invoice are not certainly
declared for export in one shipment. TI1is can be shown from the first
shipment, one commercial invoice corresponds to three customs
declaration forms; The amoun t on the customs declaration fonn is the
same as that on the commercial invoices.
      6)Commercial Invoice (CII), (No: J&.1213398, issued on August 26th,
2013).
     ?)Bill of Lading (BIL) related to the above ComJnercial Invoice.
      8)Customs declaration fonn for exportation related co the above C/I
& B/L .
     The evidence 6)-8) above is for the 2nd batch of non-payment goods:
About August 26 th , 2013, the Claimant sold one batch of Hocke) Goal Net,
Shoot Trainer and other goods. The total price of the goods is USD
46,354.92. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of ma1itime transport. but the
Respondent failed to pay the price of the goods.
     ln view of the evidence 6)-8) above, the Respondent"s ,;ewpoint:
Evidence 6 is the invoice issued by the Claimant himself. we don·r agree
with the evidence. We don't agree with the authenticity of the e,idence 7,
and from the evidence itself, the consignee is not the Respondent in this
case. Moreover, the BIL cannot show that the goods have been picked up
by the Respondent. We confirm the authenticity of Evidence 8.
     9)Commcrcial Invoice (C/1), No: J&J2 I 3443, iss ued on August ~8th.
2013.
      l0)Bill of Lading (BIL) rela ted to the above Commercial ln\'oice.
      11)Goods declaration fo1m for exportation related to the above C/J &
BIL
     The evidence 9)-11) above is for the 3"~ batch of non- pa) ment goods:
About August 28"', 2013, the Claimant sold one batch of Hocke) Goal Net,
Shoot Trainer and other goods. The total price of the goods is USD
44,842.77. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transpon. but the
Respondent failed to pay the price of the goods.
     1n view of the evidence 9)- 11 ) above, the Respondent's vie,,,point: A)
                                     12
Evidence 9 is the invoice issued unilaterally by the Claimant hiinself, and
we don't agree with it. The authenticity of Evidence 10 cannot be
confim1ed. We only confom the authenticity of Evidence 11. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked alter the hearing.
      I2)Commercial Invoice (C/1), No: J&J213396, issued on September
9th, 2013.
      I3)Bill of Lading (B/L) related to the above Co1runercial Invoice.
      14)Goods declaration form for exportation related to the above C/1 &
BIL.
      The evidence 12)-14) above is for the 4th batch of non-payment goods:
About September 91\ 2013, the Claimant sold one batch of Hockey Goal
Net, Shoot Trainer and other goods. The total price of the goods is USD
50, l 07.40. The Claimant made the export declaration of the goods,
consign to the Respondent by means of maritime transport, but the
Respondent failed to pay the price of the goods.
      ln view of the evidence 12)-14) above, the Respondent's viewpoint:
Evidence 12 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 13, and from the evidence itself, the consignee is not Claimant in
this case. Moreover, the B/L cannot show that the goods have been picked
up by the Respondent. We confirm the authenticity of Evidence 14.
        1S)Commercial Invoice (CII), No: J&.1213397, issued on September
       911', 2013.
        16)Bill of Lading (BIL) related to the above Commercial Invoice.
        l 7)Goods declaration fo1m for exportation related to the above CIT&
        BIL
      The evidence 15)-17) above is for the 5th batch of non-payment goods:
About September 91\ 20 I3, the Claimant sold one batch of Hockey Goal
Net, Shoot Trainer and other goods. The total price of the goods is USD
55,579.92. The Clai.mant made the export declaration of the goods;
consigned to the Respondent by means of maritime tTansport, but the
Respondent failed to pay the price of the goods.
       ln view of the evidence 15)- 17) above, the Respondent's viewpoint:
Evidence I 5 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 16, and from the evidence itself, the consignee is not the
Respondent in this case. Moreover, the BIL ca1mot show that the goods
have been picked up by the Respondent. We confirm the authenticity of
Evidence 17.
        l 8)Commercial Invoice (Cl!), No: J&J213462, issued on September
        Ioru, 2013.
        J9)Bill of Lading (BIL) related to the above Commercial Invoice.

                                    13
       20)Goods declaration form for exportation related to the above C/1 &
       BIL.
       The evidence 18)-20) above is for the 61h batch of non-payment goods:
 About September IOu', 20 I3, the Claimant sold one batch of Hockey Goal
 Net and other goods. The total price of the goods is USD 45,253.50. The
 Claimant made the export declaration of the goods, consign to the
 Respondent by means of maritime transport, but the Respondent failed to
 pay the price of the goods.
      In view of the evidence 18)-20) above, the Respondent's viewpoint:
 A) Evidence 18 is the invoice issued unilaterally by the Claimant himself,
 and we don't agree with it. The authenticity of Evidence 19 cannot be
 confirmed. We only confirm the authenticity of Evidence 20. B) The
 Respondent does not have complete data about the specific quantity of
 goods received from the Claimant, especially those goods with consignee
 not being the Respondent. Whether the Respondent has received the
 shipment or not should be checked after the hearing.
       21 )Commercial Invoice (C/I), No: J&J213454, issued on September
       121h, 2013 .
       22)Bill of Lading (BIL) related to the above Commercial Jnvoice.
       23)Goods declaration form for exportation related to the above C/1 &
       BIL.
      The evidence 21)-23) above is for the 7th batch of non-payment goods:
About September 12111, 2013, the Claimant sold one batch of Hockey Goal
Net, Score Board and other goods. The total price of the goods is USD
39,473.50. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent failed to pay the price of the goods.
      In view of the evidence 21)-23) above, the Respondent's viewpoint:
A) Evidence 21 is the invoice issued unilaterally by the Claimant himself,
and we don't agree with it. The authenticity of Evidence 22 cannot be
confomed. We only confinn the authenticity of Evidence 23. 8) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked after the bearing.
      24)Commercial Invoice (CII), No: J&J2134 19, issued on September
       16th, 2013.
      25)Bill of Lading (BIL) related to the above Commercial Invoice.
      26)Goods declaration fo1111 for exportation related to the above Cl£&
      BIL.
     The evidence 24)-26) above is for the 81" batch of non-payment goods:
About September 161\ 2013, the Claimant sold one batch of Hockey Goal
Net, Shoot Trainer and other goods. The total price of the goods is USD
46,354.92. The Claimant made the expo1t declaration of the goods,
consign to the Respondent by means of maritime transport, but the
                                    14
Respondent failed to pay the price of the goods.
     In view of the evidence 24)-26) above, the Respondent's viewpoint:
Evidence 24 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 25, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the B/L cannot show that the goods have been
picked up by the Respondent. We confirm the authenticity of Evidence 26.
      27)Commercial Invoice (C/1), No: J&J213467, issued on September
      17th, 2013.
      28)Bill of Lading (BIL) related to the above Commercial Invoice.
      29)Goods declaration form for exportation related to the above C/1 &
      BIL.
     The evidence 27)-29) above is for the 91h batch of non-payment goods:
About September l 71\ 2013, the Claimant sold one batch of Hockey Goal
Net, Shoot Trainer and other goods. The total price of the goods is USD
44,268.00. The Claimant 1nade the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent failed to pay the price of the goods.
     In view of the evidence 27)-29) above, the Respondent's viewpoint:
A) Evidence 27 is the invoice issued unilaterally by the Claimant himself,
and we don't agree with it. The authenticity of Evidence 28 cannot be
confirmed. \1/e only confirm the authenticity of Evidence 29. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked after the hearing.
      30)CommerciaJ Invoice (C/1), No: J&J2 l 346 I, issued on September
      22nd , 2013.
      31 )Bill of Lading (BIL) related to the above Commercial Invoice.
      32)Goods declaration fmm for exportation related to the above C/1 &
      8/L
     The evidence 30)-32) above is for the I 0 th batch of non-payment
goods: About September 22'\ 2013, the Claimant sold one batch of
Hockey Goal Net, Shoot Trainer and other goods. The total price of the
goods is USD 46.354.92. The Claimant made the export declaration of the
goods, consigned to the Respondent by means of maritime transpmt, but
the .Respondent failed to pay the price of the goods.
      ln view of the evidence 30)-32) above, the Respondent's viewpoint:
Evidence 30 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 31, and from the evidence itseJt: the consignee is not the
Respondent in this case. Moreover, the BIL cannot show that the goods
have been picked up by the Respondent. We confirm the authenticity of
Evidence 32.
       33)Conunercial Invoice (C/1), No: J&J2 I 3469, issued on September
                                    15
     22nd, 2013.
       34)Bil1 of Lading (B/L) related to the above Commercial ln,·oice.
       35)Bill of Lading (BIL) related to the above Commercial ln,oice.
      The evidence 33 )-35) above is for the 11 '" batch of non-pa)ment
goods: About September 22nd, 2013, the Claimant sold one barch of
 Hockey Goal Net, Shoot Trainer and other goods. The total price of the
goods is USD 46,354.92. The Claimant made the export declaration of the
goods, consigned to the Respondent by means of maritime transport. but
the Respondent failed to pay the price of the goods.
        In view of the evidence 33)-35) above, the Respondem·s ,;ewpoint:
Evidence 33 is the invoice issued unilaterally by the Claimant himself. we
don't agree with the evidence. We don't agree with the authemicil) of the
evidence 34, and from the evidence itself, the consignee is not the
Respondent in this case. Moreover, the BIL cannot show that the goods
have been picked up by the Respondent. We contim1 the authenticit} of
Evidence 35.
      36)Commercial Tnvoice (C/1), No: J&J2 l 3486, issued on September
      26th, 2013.
      37)Bill of Lading (B/L) related to the above Commercial lnYoice
      38)Bill of Lading (B/L) related to the above Commercial Invoice
     The evidence 36)-38) above is for the 12'" balch ofnon-pa}'men1
goods: About September 26u', 2013, the Claimant sold one batch of
Hockey Goal Net, Wooden Support and other goods. The total price of the
goods is USD 31,068.64. The Claimant made the expon declaration of the
goods, consigned to the Respondent by means of maritime transport. but
the Respondent failed to pay the price of the goods.
     In view of the evidence 36)-38) above, the Respondent"s ,ie\vpoint:
A) Evidence 36 is the invoice issued unilaterally by the Claimant himself,
and we don't agree with it. The authenticity of Evidence 37 cannot be
confi rmed. We only confirm the authenticity of Evidence 38. B) The
Respondent does not have complete data about lhe specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked after the hearing.
      39)Cornmercial Invoice (C/1), No: J&J2 l 3496, issued on September
      30th,20l3.
      40)Bill of Lading (B/L) related to the above Commercial Invoice.
      41 )Bill of Lading (BIL) related to the above Commercial Tnvoice.
     The evidence 39)-41) above is for the 13th batch of non-payment
goods: About September 30Ll', 2013, the C laimant sold one batch of
Hockey Goal Net and other goods. The total p,ice of the goods is USD
35,760.00. The Claimant made the export declaration of che goods,
consigned to the Respondent by means of maritime transpo1t, but the
Respondent failed to pay the price of the goods.
     In view of the evidence 39)-4 I) above, the Respondent's viewpoint:
                                   16
A) Evidence 39 is the invoice issued unilaterally by the Claimant himself,
and we don't agree with it. The authenticity of Evidence 40 cannot be
confinned. We only confirm the authenticity of Evidence 41. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked after the hearing.
     42)Commercial Invoice (C/1), No: J&J2134 I 8, issued on September
      29th, 2013.
     43)Bill of Lading (B/L) related to the above Commercial Invoice.
     44)Bill of Lading (B/L) related to the above Commercial Invoice
     The evidence 42)-44) above is for the 14'h batch of non-payment
goods: About September 29'h, 2013, the Claimant sold one batch of
Hockey Goal Net, Shoot Trainer and other goods. The total price of the
goods is USD 46,354.92. The Claimant made the export declaration of the
goods, consigned to the Respondent by means of maritime transport, but
the Respondent failed to pay the price of the goods.
     In view of the evidence 42)-44) above, the Respondent's vievvpoint:
Evidence 42 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. \'/-./e don't agree with the authenticity of the
evidence 43, and from the evidence itself, the consignee is not the
Respondent in this case. Moreover, the BIL cannot show that the goods
have been picked up by the Respondent. We confirm the authenticity of
Evidence 44.
     45)Commercial Invoice (C/1), No: J&J2 J 3470, issued on September
     29'1\ 2013.
     46)Bill of Lading (BIL) related to the above Commercial Invoice
     47)Bill of Lading (BIL) related to the above Commercial Invoice
     The evidence 45)-47) above is for the 151h batch of non-payment
goods: About September 29th, 2013, the Claimant sold one batch of
Hockey Goal Net, Shoot Trainer and other goods. The total price of the
goods is USD 46,354.92. The Claimant made the expmt declaration of the
goods, consigned to the Respondent by means of maritime transport, but
the Respondent failed to pay the price of the goods.
     ln view of the evidence 45)-47) above, the Respondent's viewpoint:
Evidence 45 is the invoice issued unilaterally by the Claimant himself, we
don't agree w ith the evidence. \Ve don't agree with the authenticity of the
evidence 46, and from the evidence itself, the consignee is not the
Respondent in this case. Moreover, the BIL cannot show that the goods
have been picked up by the Respondent. We confirm the authenticity of
Evidence 47.
     48)Commercial Invoice (C/1), No: J&J213468, issued on October
      l I th , 2013.
     49)Bill of Lading (BIL) related to the above Commercial Invoice
     50)Bill of Lading (BIL) related to the above Commercial Invoice
                                      17
      The evidence 48)-50) above is for the 16th batch of non-payment
goods: About October 11th, 2013, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
USD44,268. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent failed to pay the p1ice of the goods.
      111 view of the evidence 48)-50) above, the Respondent's viewpoint:
A) Evidence 48 is the invoice issued unilaterally by the Claimant himself,
and we don't agree with il. The authenticity of Evidence 49 cannot be
confirmed. We confinn the authenticity of Evidence 50. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether lhe Respondent has received the
shipment or not should be checked after the hearing.
       5 I)Commercial Invoice (C/f), No: J&J2 l 3504, issued on October
       l 0111, 2013 .
       52)Bill of Lading (BIL) related to the above Commercial invoice
       53)Bill of Lading (B/L) related to the above Commercial lnvoice
      The evidence 51 )-53) above is for the 17th batch of non-payment
goods: About October 9 1\ 2013, the Claimant sold one batch of Hockey
Goal Net and other goods. The total price of the goods is USD 17,342.40.
171e Clain1anl made the export declaration of the goods, consigned to the
Respondent by means of maritime transport, but the Respondent failed to
pay the price of the goods.
      In view of the evidence 51 )-53) above, the Respondent's viewpoint:
Evidence 51 is the invoice issued unilaterally by the Claimant himself. we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 52, and from the evidence itself, the consignee is not the
Respondent in this case. The B/L cannot show lhat the goods have been
p icked up by the Respondent. We confirm the authenticity of Evidence 53.
Moreover, both the pmties signed the Agreement on Time Li1nit of
Providing Evidence at the Commission in August 2015. It is agreed that
the tin1e limit of providing evidence shall be before September 14, 2015,
otherwise the party who submit the evidence overdue shall bear the
responsibility of not being able to submitting evidence. The evidence
submitted by the Claimant during the hearing is overdue and cannot be
regarded as evidence. The Respondent does not confinn the evidence
provided during the hearing. The BIL cannot prove that the Respondent
has received the goods, and the Claimant has no evidence to prove that the
Respondent has received all the goods. The email shown by the Claimant
is in 2011, to prove that the goods were sent to a company in Finland, but
The date shown in the Claimant's evidence 51 ,52,53 is October 17, 20 13.
Obviously the difference is ve1y big, the opinion of the Claimant cannot
be proved, and it cannot prove that the Respondent has received all the
goods.
                                    18
     54)Co111mercial Invoice (C/l), No: J&J2 I35 l l, issued on October
      18th,2013.
     55)Bill of Lading (B/L) related to the above Commercial invoice
     56)Goods declaration form for exp01tation related to the above C/ 1 &
      BIL.
     The evidence 54)-56) above is for the I gmbatch of non-payment
goods: About October 18th , 2013, the Claimant sold one batch of Hockey
Goal Net and other goods. The total price of the goods is USD 58,433.83.
The Claimant made the expo1t declaration of the goods, consigned to the
Respondent by means of maritime transport, but the Respondent failed to
pay the price of the goods.
     In view of the evidence 54)-56) above, the Respondent's viewpoint:
Evidence 54 is the invoice issued unilaterally by the Claimant himselt: and
we don't agree with it. The authenticity of Evidence 55 cannot be
confirmed. \1/e confirm the authenticity of Evidence 56. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claunant, especially those goods with consignee
not beiI1g the Respondent. Whether the Respondent has received the
shipment or not should be checked after the hearing.
     57)Commercial Invoice (C/1), No: J&J2 l 3482, issued on October
      11 st, 2013 .
     58)Bill of Lading (BIL) related to the above Commercial invoice
     59)Goods declaration form for exportation related to the above C/I &
      BIL.
          The evidence 57)-59) above is for the 19~1 batch of non-payment
     goods: About October I I 1h, 20 I3, the Claimant sold one batch of
     Hockey Goal Net, Shoot Trainer and other goods. The total price of
     the goods is USO 46,354.92. The Claimant made the export
     declaration of the goods, consigned to the Respondent by means of
     maritime transport, but the Respondent failed to pay the price of the
     goods.
     In view of the evidence 54)-56) above, the Respondent's viewpoint:
Evidence 57 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don 't agree with the authenticity of the
evidence 58, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the B/L cannot show that the goods have been
picked up by the Respondent. We confirm the authenticity of Evidence 59.
     60)Commercial Invoice (C/1), No: J&.1213492, issued on October
      21 st , 2013.
     6l)Bill ofLadjng (B/L) related to the above Commercial Invoice.
      62)Goods declaration form for exportation related to the above C/T&
      B/L.
     The evidence 60)-62) above is for the 20th batch of non-payment
goods: About October 21 st , 2013, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
                                    19
USD 46,354.92. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent failed to pay the price of the goods.
     In view of the evidence 60)-62) above, the Respondent's viewpoint:
Evidence 60 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 61, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the B/L cannot show that the goods have been
picked up by the Respondent. We confirm the authenticity of Evidence 62.
      63)Commcrcial Invoice (C/1), No: J&J2 I35 I 4, issued on October
     25 th, 2013.
      64)Bil l of Lading (B/L) related to the above Commercial Invoice.
      65)Goods declaration fonn for expo1tation related to the above C/1 &
     BIL.
     The evidence 63)-65) above is for the 21 st batch of non-payment
goods: About October 251\ 2013, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
USO 46,354.92. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritune transport, but the
Respondent failed to pay the price of the goods.
     In view of the evidence 63)-65) above, the Respondent's viewpoint:
Evidence 63 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 64, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the B/L cannot show that the goods have been
picked up by the Respondent. We confirm the authenticity of Evidence 65.
      66)Commercial Invoice (C/1), No: J&J2 I3513, issued on October
      25 1h, 2013.
      67)Bill of Lading (B/ L) related to the above Commercial Invoice.
      68)Goods declaration form for expoltation related to the above C/1 &
      BIL.
     The evidence 66)-68) above is for the 22nd batch of non-payment
goods: About October 25"', 2013, the Claimant sold one batch of Hockey
Goal Net and other goods. The total price of the goods is USD 65,305.00.
The Claimant made the export declaration of the goods, consigned to the
Respondent by means of maritime transport, but the Respondent failed to
pay the price of the goods.
     In view of the evidence 66)-68) above, the Respondent's viewpoint:
Evidence 66 is the invoice issued unilaterally by the Claimant himself, and
we don't agree with it. The authenticity of Evidence 67 cannot be
confirmed. We confirm the authenticity of Evidence 68. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. ~'hether the Respondent has received the
shipment or not should be checked after the hearing.
                                    20
     69)Commercial Invoice (C/1), No: J&J2 I 3505, issued on October
     25th, 2013.
     70)Bill of Lading (B/L) related to the above Commercial Invoice.
     71 )Goods declaration fonn for exportation related to the above C/I &
     BIL.
     The evidence 69)-71) above is for the 23 rd batch of non-payment
goods: About October 25th,, 2013, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
USO 35,138.60. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent fa iled to pay the price of the goods.
     In view of the evidence 69)-7 I) above, the Respondent's viewpoinL:
Evidence 69 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don' t agree with the authenticity of the
evidence 70, and from the evidence itself, the consignee is not Claimant in
this case. Moreover, the BIL cannot show that the goods have been picked
up by the Respondent. We confirm the authenticity of Evidence 71.
      72)Commercial Invoice (C/1), No: J&J2135l5, issued on November
      4th, 2013.
      73)Bill of Lading (BIL) related to the above Commercial Invoice.
      74)Goods declaration for exportation related to the above C/1 & BIL.
      The evidence 72)-74) above is for the 24111 batch of non-payment
goods: About November 41h, 2013, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
USD 46,354.92. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent failed to pay the price of the goods.
      ln view of the evidence 72)-74) above, the Respondent's viewpoint:
Evidence 72 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 73, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the BIL cannot show that the goods have been
picked up by the Respondent. \1/e confum the authenticity of Evidence 74.
       75)Commercial lnvoice (C/1), No: J&J213517, issued on November
       8th, 2013.
       76)Bill of Lading (BIL) related to the above Commercial Invoice.
       77)Goods declaration for exportation related to the above C/1 & BIL.
      The evidence 75 )-77) above is for the 25 1h batch of non-payment
goods: About November g•h, 20 I 3, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
 USD 46,354.92. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
 Respondent failed to pay the price of the goods.
      In view of the evidence 75)-77) above, the Respondent's viewpoint:
 Evidence 75 is the invoice issued unilaterally by the Claimant himself, we
                                    21
don't agree with the evidence. \Ve don ' L agree with the authenticity of the
evidence 76, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the BIL cannot show that the goods have been
picked up by the Respondent. We confirm the authenticity of Evidence 77.
      78)Commercial Invoice (Cll), No: J&J2l3516, issued on November
      8th, 2013.
      79)8ill of Lading (BIL) related to the above Commercial Invoice.
      80)Goods declaration for exportation related to the above CIT & BIL.
     The evidence 78)-80) above is for the 26 th batch of non-payment
goods: About November 81\ 2013, the Claimant sold one batch of Hockey
Goal Net, Shoot Trainer and other goods. The total price of the goods is
USD 46,354.92. The Claimant made the expo1t declaration of the goods,
consigned to the Respondent by means of maritime transpoit, but the
Respondent failed to pay the price of the goods.
     In view of the evidence 78)-80) above, the Respondent's viewpoint:
Evidence 78 is the invoice issued unilaterally by the Claimant himself, we
don't agree with the evidence. We don't agree with the authenticity of the
evidence 79, and from the evidence itself, the consignee is not Respondent
in this case. Moreover, the BIL cannot show that the goods have been
picked up by the Respondent. We confirm the authenticity of Evidence 80.
     8 I )Commercial Invoice (CII), No: J&J2 I 3545, issued on November
      14th, 2013.
     82)Bill of Lading (BIL) related to the above Commercial Invoice.
     83)Goods declaration fonn for expo1tation related to the above Cl! &
     BIL.
     The evidence 81 )-83) above is for the 27th batch of non-payment
goods: About November 14th, 2013, the Claimant sold one batch of Score
Board and other goods. The total price of the goods is USD 60,482.50.
The Claimant made the export declaration of the goods, consigned to the
Respondent by means ofmaiitime transport, but the Respondent fai led to
pay the price of the goods.
     In view of the evidence 8 I )-83) above, the Respondent's viewpoint:
A) Evidence 81 is the invoice issued unilaterally by the Claimant himself~
and we don't agree with it. The authenticity or Evidence 82 cannot be
confirmed. We confirm the authenticity of Evidence 83. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked after the hearing.
     84)Commercial Invoice (CIT), No: J&J213555, issued on November
     21st, 2013.
     85)Bill of Lading (BIL) related to the above Commercial Invoice.
     86)Goods declaration form for exportation related to the above Cll &
     BIL.


                                     22
      The evidence 84)-86) above is for the 2811> batch of non-payment
goods: About November 21 st , 2013, the Claimant sold one batch of
Hockey Goal and other goods. The total price of the goods is USD
68,495.40. The Claimant made the export declaration of the goods,
consigned to the Respondent by means of maritime transport, but the
Respondent failed to pay the price of the goods.
      In view of the evidence 84)-86) above, the Respondent's viewpoint:
A) Evidence 84 is the invoice issued unilaterally by the Claimant himself,
and we don't agree with it. The authenticity of Evidence 85 cannot be
confmned. We confin11 the authenticity of Evidence 86. B) The
Respondent does not have complete data about the specific quantity of
goods received from the Claimant, especially those goods with consignee
not being the Respondent. Whether the Respondent has received the
shipment or not should be checked after the hearing. The prices and
descriptions of goods on the customs declaration fo1m are not the same as
those on the invoices.
       87)Commercial Invoice (C/1), No: J&.1213126 and J&J213233,
       issued date: from March to May, 2013.
       88)Bill of Lading (BIL) related to the above Commercial Invoice.
       89)Goods declaration for exportation related to the above C/1 & BIL
       90)Bank slip, representation of nominated bank account related to
       the above mentioned C/I, B/L & bill of customs clearance
      The evidence 87)-90) above: Trading usage betv:een the Claimant
and the Respondent is: Reaching an agreement on the transaction and
transportation of each batch of goods by sending the scanning copies of
C/1, BIL and other bills through E-mails. The Respondent confirmed the
trade mode and paid for the goods into the bank accounted appointed by
the Claimant.
       [n view of the evidence 87)-90) above, the Respondent's viewpoint:
Both the parties signed the Agreement on Time Limit of Providing
Evidence at the Commission in August 2015. It is agreed that the time
 limit of providing evidence shall be before September 14, 2015, otherwise
the patiy who submit the evidence overdue shall bear the responsibility of
 not being able to submitting evidence. The evidence submitted by the
Claimant during the hearing is overdue and cannot be regarded as
evidence. We don't agree with the events to be proved.
       9l)A set of E-mail for demanding the payment (shown during the
       hearing)
       The Claimant has sent a lot of Emails to demand the payment of the
goods because the Respondent owed a huge amount of money for a long
 time, but the Respondent failed to make any reply. The group of evidence
 includes three emails sent by the business staff of our company to BRIAN
 and TOMI, business staff of the Respondent for demanding the payment.
 In P 113 of our evidence, BRIAN answered the email, promising to pay as
soon as possible.
                                    23
     Respondent: 1) Both the parties signed the Agreement on Time Limit
of Providing Evidence at the Commission in Aug11st 2015. It is agreed that
the time limit of providing evidence shall be before September 14, 2015,
otherwise the party who submit the evidence overdue shall bear the
responsibility of not being able to submit evidence. The evidence
submitted by the Claimant during the hearing is overdue and cannot be
regarded as evidence. We don't confirm the events to be proved. 2) Thei"e
is not any email that can make it clear the Respondent confirming the debt,
or promising to pay. To the contrary, in Paragraph 3 of Page 109 of the
evidence provided by the Claimant, it can be seen that the Respondent
claimed corresponding payment from the Claimant. Therefore, this group
of evidence cannot prove the events claimed by the Clain1ant.
      92)Notice of dissolution of contract and the record of express
      delivery
     The Claimant had no choice but to terminate the "Distribution
Agreement" unilaterally because the Respondent owed huge amount of
money for a long time and failed lo pay after demanding for many times,
and infonned the Respondent \.\rith written notice by international courier
service, but the Respondent failed to make any reply.
     Respondent: l) Both the parties signed the Agreement on Time Limit
of Providing Evidence at the Commission in August 2015. lt is agreed that
the time limit of providing evidence shall be before September 14, 2015,
otherwise the party who submit the evidence overdue shall bear the
responsibility of not being able to submit evidence. The evidence
submitted by the Claimant during the hearing is overdue and cannot be
regarded as evidence. 2) The Respondent can check whether it has
received or not. The document was sent after the Commission has
accepted the case and delivered the relevant mate1ials to both the parties,
and the Claimant sent it on August 1, 2015. The payment claimed by the
Claimant is not con finned by the Respondent. Even if the Respondent has
received the document, it does not affect that the Respondent require
relevant payment from the Claimant.
      93)Private enterprise registration information inquiry result, legal
      representative information and enterprise change registration
      information inquiry result. To prove: The Claimant has gone through
      five changes of registration since its establishment on 28 January
      2002, but has nothing to do with the Respondent, and the Respondent
      has not made any contribution to the Claimant's organizational
      structure.
      94)The emails between the Respondent and the Outsider Mr. Mao
      Jianjun. To prove: The net is referred to in the Respondent's evidence
      (the current state is in a state of damage) is the Respondent's own
     purchase from the Outsider. Even if the quality problem mentioned
      by the Respondent existed, it has nothing to do with the Claimant.
      95)The emails between the Claimant and the outsider, and between
                                    24
the Respondent and the outsider. To prove: The Respondent directly
contacted with the Claimant's customer in its own name, but
propagated the Respondent's own products, the customer of the
Claimant to disclose and berate the improper behavior of the
Respondent, and alert the Claimant that the Respondent contacted
them privately and to plunder the customer resources. The
Respondent contacted the original important customers of the
Claimant privately in his own name, trying to replace the Claimant's
place, and rob the Claimant's customers.
96)Emails between the Claimant and the Respondent. To prove: A)
The Respondent deducted the Claimant's payment of USO 95110.56
due to the so-called product quality without the Claimant's consent.
Although the Claimant urged, the Respondent still has not been paid
it; B) The Respondent has deducted the cost of the sewing machine
from the payment paid to the Claimant; C) The Respondent has
repeatedly overdue payment during performance of the Agreement.
97)Emails between the Claimant and the outsider, and between the
Claimant and the Respondent. To prove: The Claimant proposed
revised scheme of the Product 37-1398, i.e., the Respondent has not
upgraded or reformed the Claimant's Product 37- 1398.
98)Emails between the Claimant and the Respondent. To prove: The
images of the product 37-1398 provided by the Respondent are aU
with the Respondent's ow11 brand, the Claimant cannot use them. The
Respondent was propagating its own brand, it did not make any
contribution to the Claimant's product 37- 1398.
99)Emails between the Claimant and the Respondent (5 pages). To
prove: The Respondent sent the email with the product instruction of
the product of37-lll2, but the instruction is for Respondents' own
product, and the Claimant cannot use them. The Respondent has not
revised the instruction of the Claimant's product 37- 1112.
I OO)Emai Is between the Claimant and the outsider ( 16 pages). To
prove: the outsider helped the Claimant revise the instruction of the
product 37-1 I 12, i.e., the revision of the instruction of the product
37-1112 has nothing to do with the Respondent.
1OJ )Emails between the Claimant and the Respondent (I 8 pages). To
prove: The Claimant sent the 37- 1107 instruction to the Respondent.
The Respondent sent back the instructions of his own brand, the
Claimant carn1ot use the instructions, and the Respondent has never
revised to the instruction of product 37-1107.
  I02)Emails between the Claimant and the Respondent (7 pages). To
 prove: "IO x IO x 8, 1934878" is the only specification of shelter
 purchased by the Respondent from the Claimant. i.e., A) The
 product" 10 x 10 x 8,1934878" can be identified as "the Product" in
 this case; B) The Respondent has not made any upgrade or
 improvement to the Claimant's product or packaging, and he had
                               25
only made a request for the product specifications and packaging he
purchased.
I 03)The commercial invoice, packing list and bill of lading for
which the Respondent purchased the hockey goal from the Claimant
in 2011 and 2012 (altogether 261 pages). To prove: The Respondent
has never fulfilled the I 0% annual increase in the amount pron1ised
in the Distribution Agreement, the purchase amount in 20 12 (USO
1692682.30) is less than the purchase amount in 20 l l (USD
1985406.90). The Respondent has never paid the profits to the
Claimant during the purchase of the goods from the Claimant, and
the Respondent shall continue to perform the obligation to pay the
profits according to the agreement. The purchase amount in 2012
(USO 1692682.30), the purchase amount in 2011 (USO 1985406.90),
and the purchase amount in 2013 (USDl 286758.50), the amount of
the purchase amount is less than US $ 10 million. If the purchase
amount is less than US $ 10 million, the Claimant shall enjoy 8%
pre-tax profit, so the Respondent shall pay USO 397 187.82 per
Article 3 of Addendum A of the Dist1ibution Agreement The
Respondent has not yet paid it to the Claimant, and the Claimant
reserves the right to claim separately.
 l04)The Claimant's audit report from 2011 to 2013, and tax
statement and profit and loss statement in 2014 (34 pages). To prove:
There is no distributable profit of the Claimant because of continued
 losses from 2011 to 2014. Even if the Claimant needs to perform the
 obligation of distribution profits, it does not need to do because
 there is no profit.
  I 05)Part of the export of goods declaration of the Claimant in 2011 ,
 2012 & 2013 - July 30, 2015. To prove: A) The goods exported by
 the Claimant from 20 ll to July 31, 20 l 5 include shelter. animal
 living room, garden shed and other products; B) There are different
 types of shelters the Claimant exported, i.e., the name of the goods
 listed in the customs data sheet is "live house" and is not provided
 in accordance with the "shelter" applied by the Respondent's
 application for evidence, and only some of the data provided are
 shelters. The data itself does not have the accuracy, legitimacy and
 relevance, and it cannot be used as evidence of the facts of the case.
  106)Commercial invoices, packing list and bills of lading
 corresponding to the specification of the goods recorded in the
 custom declaration fonn. To prove: There arc different types of
 specification for the shelter the Claimant exported. Even if the
  Respondent helped upgrade one or the types of goods, it cannot be
  regarded as all its products are upgraded. For the identification of
  whether the Respondent has implemented the contract to upgrade
  the product or not, it should be determined by economic effects of
  the Claimant. The Respondent claimed that the Claimant had
                                26
       upgraded one model of the Product, but in fact the Claimant's
       exports and customer resources are continuously reduced, the price
       of the goods did not significantly improve, which is clearly
       self-contradictory with the Respondent's rhetoric.
      ln view of the Claimant's evidence No.93-106, the Respondent's
viewpoint is: The new evidence provided by the Claimant is either the
accounting repott having nothing to do with the facts to be proved in this
case, or the customs declaration just proving that the Claimant has
exported large number of mobile shelters, and the evidence cannot support
the viewpoint of the Claimant at all. On the contTary, the evidence of
emails provided by the Respondent proves completely and in detail that
the Respondent helped the Claimant to upgrade and improve the shelters
and outdoor canopies, etc., change the labeling and packaging of products,
set up custo1ner service in USA and solve the patent infringement dispute.
According to the Distribution Agreement, the Claimant should distribute
profit to the Respondent in export sales of shelters, etc.
      2 Evidence provided by the Respondent
      1)Distribution Agreement. To prove: A) Tt is clear in Clause 1.4 that,
          when the Respondent makes certain change to the products, new
          orders from new customers must go through the Respondent;
          New orders from new customers can go through the Respondent
          but the profit will be split; When the situations listed in
          1.4.1-1.4.6 happen, the orders related shall go through the
         Respondent, and the situations stated above include setting up
          customer service, changing labeling or packaging tor the products
          sold in USA, Canada or other countries, or reviewing or
         redesigning the products the suppliers is infringing; B) It is clear
          in 3.1, 3.2 and 3.3 that the Claimant cannot sell, distribute, market,
          lease or otherwise make available the products all over the world
          except through the Respondent; the Claimant cannot grant any
          1ight to anyone other than the Respondent for the sale, i.e., the
          Respondent shall have exclusive right to dist1ibute the Product all
          over the world; C) It is clear in Clause IO that the Claimant shall
          pay to the Respondent one million US dollars as liquidated
          damages for breach of Clauses 3, 4, 5, 6, 7, 8 and 9.2.
     The Claimant recognizes the authenticity of this evidence, but: A)
First of all, in article 1.4 of the Distribution Agreement, the word
"organization" has no way to be interpreted as "product". The Respondent
deliberately interpreted as "product" which reveals its attempt to mislead
the Arbitration Tribunal, and tum the facts upside down, and that the
Respondent itself realized the fact that it had never made any changes to
Claimant's organization. Secondly there is no evidence to prove the
Respondent ever improved or upgraded the products of the Claimant, or,
Articles l .4.1 - 1.4.6 had realized. Thirdly the word "split" does not means
to "separate averagely". B) For the second matter to be proved, the
                                      27
  Articles 3.1, 3.2, 3.3 did not come into effect, because these articles are
 conditional, which means the Respondent should first make changes to the
 organization of the Claimant. Now that Respondent had never made any
 changes to the organization of the Claimant, Articles 3. L 3.2, 3.3 did not
 come into effect. Even if the Respondent claims it had made changes to
 Claimant's product so it should have the global exclusive distribution right,
 the Respondent did not have any evidence to prove it has fulfilled its
 obligation by these provisions. C) For Article 8. 1, the Claimant thinks the
 Respondent has no standard and had never provided any specifications or
 standards to the Claimant. As a matter of fact the Respondent had accepted
 all' the goods of the C laimant, had never refused or rejected any delivery
 of Claimant's goods. According to 8.1 of the Agreement, if there is no
 refusal of the goods, the Claimant should pay for the goods in full. D) The
 liquidated damage stipulated in Clause IO in this Agreement is too high,
 and should be deemed invalid. The liquidated damage should be
 calculated based on the substru1tial financial loss of the party concerned.
 Hypothetically speaking, even if the Claimant breached the Agreement,
 there is no substantial financial loss of the Respondent at all, because it is
 only a middle person of inten1ational trading. E) The Clause 11.8 in
 "Distribution Agreement" stipulates that the Respondent should pay the
 price for the goods. And the Claimant shall have the right to claim for the
 profit which the Respondent never allocated to the Claimant. We hereby
 declare to reserve the right to claim for the profit. F) The Distribution
 Agreement was unilaterally drafted by the Respondent. The stipulations of
th is Agreement arc obviously unjust, unreasonable and unfair. These
 unjust, unreasonable and unfair stipulations had fundamentally violated
 Claimant's right of independent operation and free trade, as a good-faith
enterprise of China. It had constituted a violation against the fundamental
 principle of laws of China, thus these stipulations shall not be
acknowledged in our country. The Respondent in its turn, had breached
the "Distribution Agreement" by not fulfill ing obligations of the
"Distribution Agreement" from the very beginning. According to the
Distribution Agreement, the Respondent should make certain change to
the Claimants' organization, then, the provision of exclusive sales,
distribution of profits and other provisions can apply (Alticle 1.4), the
so-called "make certain change to the organizations" means the
Respondent should change Claimant's organization by means of
investment, purchase of equity, setup of joint ventures, mergers and
acquisitions and other forms that can change the structure of Claimant's
enterprise. However, after the conclusion of the "Distribution Agreement",
the Respondent has never made any change to the Claimant's organization.
According to the Distribution Agreement, "Product" is defined as: Any
product introduced or sold by the Respondent in the light of "Product
Specifications" (Article 2.4). "Product Specifications" is defined as:
specifications or samples the Respondent or customer required or provided
                                     28
(Atticle 2.5 ). According to afotementioned prov1s1on, any products not
introduced or sold by the Respondent, are not the Products defined by the
Agreement. There is no evidence that the Claimant's products are
produced according to specifications or samples provided by the
Respondent. In fact, the Respondent has never provided any product
specifications or samples. Therefore, the pre-condition of the exclusive
sales and profit split and other applicable provisions under the
"Distribution Agreement" does not exist. The Respondent never performs
their obligation under the "Distribution Agreement", such as branding the
product; finding customers in North American or the other countries;
upgrading the new product; changing the label or the packaging;
reviewing or re-designing the product which infringed other persons'
rights. There is no evidence that Respondent ever provided these services
to the Claimant. Particularly, the Respondent had never auth01ized the
Claimants to use their new and old patents, according to the Agreement.
The "Distribution Agreement" appointed that the Claimant shall deal with
the "rejection" substandard products and rework them at its own expense,
until it meets the specifications by the Respondent (Article 8.1 ). The so
called substandard products should be rejected by the Respondent, not the
end customers. As long as the Respondent received the goods, it indicated
that the product has no quality problems. And "Distribution Agreement"
arranged that the Respondent has a reasonable way of knowing the
Claimants' production facilities (Article 8.2). 1n fact, the Respondent had
dispatched staff on-site to supervise the Claimant's production work, so
the Respondent has the ability to do quality inspection before shipping the
goods. In conclusion, the Respondent alleged quality problem was an
excuse to avoid performing its payment obligation. ln addition, according
to the "Distribution Agreement", the Respondent should ensure the
Claimants' sales of products to increase I 0% per annum within the first
two years (Article I 0). The Addendum A of the Agreement stipulated: I) If
the annual sales is less than USD 10,000,000.00, the supplier wi11 have 8%
profits before taxes. 2) If the annual sales is between USDJ0,000,000.00 to
20,000,000.00, the supplier will have 6% profits before taxes. 3) lf the
annual sales are more than USO 20,000,000.00, the supplier will have 5%
profits before taxes. The Respondent had never fulfilled abovementioned
obligation, or distributed any profit to the Claimant. The only
circumstance stipulated by the Distribution Agreement where Claimant
needs to split profit with Respondent does not exist in fact. According to
"Distribution Agreement", the Claimant who had only in one case needs to
allocate profits to the Respondent, namely Article 1.4 "When the
Dist1ibutor makes certain change to the supplier's organization .... . . New
orders from old customers buying divisions will go thru suppliers but the
profit will be split." Under this article of the Agreement, the pre-condition
to distribution of profit was that the Respondent should make certain
change to the Claimants' organization" (such as investment, purchase of
                                     29
equity, setup of joint ventures, mergers and acquisitions and other forms
 that can change the structure of Claimant's enterprise), however, the
 Respondent never made any changes to the Claimant's organization, the
 pre-condition of the profit split does not exist. On the contrary, in other
 cases, all the products sold to the third parties by the Claimant are
 distributed by the Respondent. So the Respondent shall split profits to the
 Claimant. However, the Respondent has never assigned profits to the
 Claimant. G) The Respondent signed the Distribution Agreement legally
 but to cover up his illegal purpose. His real purpose is to restrict the
 Claimant's power to develop clients independently, expand exports and
 promote technology and productivity rather than perfonn the Agreement.
 So the Agreement is ineffective based on Article 52 of the Contract Law of
 the People's Republic of China. The business scope is almost the san1e
 between the Respondent and the Claimant. But after signing the
 Agreement, they didn't expand their sales market. On the contrary, the
Respondent strikes and restricts the Claimant's normal selling all the time
which decline the Claimant's export sales. Since 2013, the Respondent has
 neither purchased any goods from the Claimant nor allowed the Claimant
selling them. Obviously, their behavior of the Respondent is not to aim at
cooperation and develop the market but to attack competitor which has
deviated from our original purpose. The Distribution Agreement is invalid
and has no binding to the Claimant. H) The Respondent wants to replace
the Claimant so that they can contact the Claimant's key customers in their
own name without the Claimant's pe,mission. Through their behavior, the
Claimant found that the Respondent didn't mean to perfonn the
Agreement. Their real purpose is to contact our customers. I) The
'Distribution Agreement' applies to exclusive sales and profit share clause
(Article I .4) which means that the Respondent should make some changes
to the Claimant in advance. For more details, 'some changes' means the
Respondent could change the Claimant structure in the fo1m of investment,
joint venture, merger and acquisition, etc. However, the Respondent did
not make any change of the Claimant after signing the Agreement. To
prove this, the Claimant offered its basic information on business
registration. J) The Respondent did not folfill their obligations in
'Distribution Agreement' (1.4.1 to 1.4.6) which include setting up
customer service system, updating products and developing new
customers, etc. K) The Respondent fallen behind in their payment for
many times in the process of the performance, it has repeatedly default. L)
The Respondent deducted our payment in the amount of USO 95110.56
unilaterally without any basis, constitute fundamental breach of
Agreement. M) The Respondent did not achieve their obligation that the
amount of export good should increase I 0% per year. The amount
($1692682.30) of purchase in 2012 is less than that of the amount
($1985406.90) in 2011. N) The Respondent has never assigned to the
Claimant any profit during the period of purchasing goods so the
                                    30
Respondent need to ful ~II their obligation to pay the profit. The purchase
amount is 1692682.30 US dollars in 2012, I 985406.90 US dollars in 2011 ,
1286758.50 RMB in 2013. Per the Article 3 of Addendum A in the
Agreement, the Claimant enjoys 8% of pre-tax profits on condition that
the purchase quantity is less than $10 million. Therefore, the Respondent
shall pay the profit of 397187.82 US dollars. So, we reserve the right to
claim the rights. 0) The Respondent did not purchase any goods from us
since December of 2013 which means they will not perform the
Agreement anymore. Per the principle of reciprocity of contract tights and
obligations, because the Respondent has not fulfilled any contractual
obligations, even if the Claimant sells the products under the Distribution
Agreement, it is also for the purpose of reducing the losses caused by the
Respondent's breach of agreement, so the Claimant does not constitute a
breach of contract, the Respondent has no right to make any claims. In
conclusion, the premise of exclusive dealing and share profit in the
Agreement does not exist. The aim of the Respondent is illegal so there is
no factual and legal basis for them to ask for distributing profit or
performing the responsibility.
     1n view of the above, the Respondent's viewpoint: I) As stated by the
Respondent, the original intention of both the parties in the cooperation is
that the Claimant uses the Respondent's advanced technology in the
products and the marketing ability in Europe and America, the Respondent
improves and upgrades the Claimant's products according to the market
and customer's demand, as agreed in the Agreement, and all the improved
or upgraded products are objects from which the profit shall be split. The
translation in the first matter to be proved is an objective translation, and
there is no purpose or action of disto1iion of the Agreement. 2) The
Claimant keeps claiming that the Respondent shall make changes to the
organization of the Claimant. It is false according to the Agreement and
the existing conditions of cooperation of both the parties. There are nvo
reasons: first, during the first hearing, the Respondent stated that there has
been no communication between both the paiiies on the so called "change
of organization" from the date of signing the Agreement, and there has
been no document to prove that the Claimant has claimed the event upon
the Respondent. If change of organization is the real intention in both the
parties' cooperation, the Claimant's not claiming or requiring at all is
obviously not reasonable; Second, the profit distribution is agreed clearly
in the Agreement, and the Respondent has evidence to prove the agreed
proportion of profit by both the parties. 1f the Respondent needed to make
any change on the organization of the Claimant according to Claimant's
claim, including joint venture, acquisition and merging, the profit should
have been distributed according to the proportion of shares after joint
venture, acquisition or merging instead of being agreed in a distribution
agreement. As for the second point, the Respondent uses the Chinese
translation in the Agreement, and we think "split" shall be translated as
                                      31
"equally divide", since if it were not the real intention of both the parties,
as an important clause in the Agreement, the proportion of profit
distribution should have been agreed clearly. 3) The Claimant holds that
the Distribution Agreement signed by both the parties is "a legal form
concealing illegal purpose". This is a groundless statement. The Claitnant
said that the Respondent "sn·ike and rest1ict the Claimant's normal sales"
after signing the Distribution Agreement. This is completely incompatible
with the facts. ln fact, The Respondent had been assisting the Claimant to
improve the product manufacture scheme and quality of the product,
helping the Claimant deal with service after sale. The Respondent sent
technical staff to provide technical direction in field from 201 l to 2013 in
the Claimant's factory. All the works and measures taken by the
Respondent were to improve the quality and sale of Claimant's products,
and to realize win-win of both the parties. There was not any "illegal
purpose". Moreover, after filing the case in Qingdao Arbitration
Commission, the Claimant sent the Notice for Cancelling Contract to the
Respondent on August I, 2015. This can also prove that the Claimant had
been accepting the effectiveness of the Contract all the time. Therefore,
the Main Contract in this case is representing the real meanings of the two
sides, there is nothing violating the law or public interest of the society.
The Contract is authentic and effective. 3) All the communications
between the Respondent and the old customer of the Claimant are in
representative of the Claimant to help the customer to solve problems in
product upgrading and installation, and the Respondent also sent a copy of
email in time to let the Claimant know about the contents of the
communication. "Contact original important customer of the Claimant in
name of private person" never happened. 4) The Claimant holds that the
prerequisite of exclusive distribution and profit allocation of the Claimant
is to change the organization of the Claimant. This is not true and contrary
to the agreement of the Contract and the o~jective cooperation: First,
Article 4 of the Distribution Agreement, "relation between the suppl ier
and the distributor" clearly defines the relation between both the parties,
i.e., the relation of buy and sell, and there is not any type of joint venture.
The Claimant claiming that the Respondent should set up wi th the
Claimant the relation of contribution, investment, acquisition or joint
venture is to disto1t the contents of the Contract on purpose. Second, after
both the parties signing the Contract in January 20 l 0, the business relation
and more than thousand emails (The Respondent submitted nearly 600
emails as evidence) between both the parties are all about the product
specification, product improvement and product quality, etc., none of the
emails mentioned about the so called "change of the organization". In
addition, in October 2010, JENNY ZHANG of the Claimant sent to the
Respondent an email, stating very clearly: The p1ice ofter to the customer
already included 8%, the profit which the Respondent should get. This can
also prove that the Claimant and the Respondent did not regard change of
                                      32
the organization as the prerequisite of profit distribution. Actually, the
view of the Claimant is not true from the common sense. Usually, if both
the parties had agreed to have the "change of organization" be the
prerequisite of distribution of profit, why the Claimant never subtnitted
any request or communicated with the Respondent? Why both the parties
never had any com1nunication on the specific scheme or time of changing
the "organization"? Obviously, the Claimant knows clearly that the
relation between both the parties is buyer and seller, and there is no
agreement that the change of organization shall be the prerequisite of the
distribution of profit. 5) The series of evidence submitted by the
Respondent prove that the Respondent perfonned such obligations
specified in 1.4.1 - 1.4.6 of the Distribution Agreement as upgrading
products, setting up customer service, changing labeling or packaging. 6)
In this case, the mode of cooperation between the Claimant and the
Respondent on mobile shelters is that the Respondent helped the Claimant
to upgrade and reform the product, then the Claimant sold the product
directly to the customer, the customer paid directly to the Claimant, ru1d
the Claimant split the profit to the Respondent according to the
Distribution Agreement. What the Respondent is clai1ning is the profit that
the Respondent should get but has not got from the Claimant. Therefore,
for the sale of mobile shelters, the Claimant should distribute profit to be
distributed, and there is no so called "Overdue payment of the
Respondent". 7) USD951 l 0.56 deducted by the Respondent was not all
for the quality problem of the product, and is listed in detail in P26 of the
Respondent's evidence, including 2 sewing machines in 2011, the USP
freight for sending 2 sewing machines to JJ in 20 IO and cost of sewing
machines in 2010. They exactly prove that the Respondent provided
relevant equipment for improving the products. 8) As stated in 5) above,
the mode of cooperation between the Claimant and the Respondent on
mobile shelters is that the Respondent helped the Claimant to upgrade and
refonn the product, then the Claimant sold the product directly to the
customer, the custon1er paid directly to the Claimant. Hence, the
Respondent is not able to get to know the total amount of annual export of
the Claimant. The Respondent asked the Claimant many times through
emails to tell the information of total amount of annual sale, but the
Claimant never answered or provided relevant data. In fact, according to
the expott data of the Claimant between January 20, 2010 and July 31,
2015, the total export amount increased greatly year by year during the
 pe1iod above. 9) The cross-examination opinions of the Claimant are
entirely groundless, and they are the intentionally disto1ted explanation of
the contents of the Distribution Agreement: First, as stated above, the
Claimant should distribute profit to the Respondent for sales of mobile
shelter, outdoor canopies, etc., there is not any condition or reason for the
 Respondent to distribute profit to the Claimant; Second, even if "The
Respondent purchased goods from the Claimant" as stated by the
                                     33
Claimant refers to the hockey goals, since there arc serious problems in
quality of the hockey goals, they are not in accordance with the quality
control and specifications, according to Article 8 of the Distribution
Agreement, the Respondent has the right to refuse to pay for the goods;
Third, even if ''The Respondent purchased goods from the Claimant" as
stated by the Claimant refers to the hockey goals, according to the
arbitration application of the Claimant, the total amount of goods ordered
from the Claimant by the Respondent from March 28, 2013 to May 26,
2013 is USD1275006.52, which has great difference and contradiction
with the export data stated by the Claimant in the cross-examination
opinions; Fourth, according to Article 3, Addendum A of the Distribution
Agreement, it is "Annual Sales of the Claimant" instead of purchase of the
Respondent was agreed, the Claimant distorted the explanation of the
contents of the Contract on purpose. Thus, the cross-examination opinions
and the claim.s of the Claimant are completely groundless and
u1u·easonable. l 0) In this case, the mode of cooperation between the
Claimant and the Respondent on such outdoor products as mobile shelters
is that the Respondent helped the Claimant to upgrade and reform the
product, and then the Cla.imant sold the product directly to the customer.
According to the data reported by the Customs, from December 2013, the
Claimant has exported a large number of mobile shelters, the sales of the
Clai.Jnant did not go th.rough the Respondent, seriously violated the
exclusive distribution agreement in the Contract. The Claimant also
admitted in the cross-examination opinion hereby that the Clai.Jnant did
the sales not through the Respondent.
      2-1 Complaining emails on the quality of ice hockey goals from
clients. To prove: The ice hockey goals which the Claimant sold to
Respondent have serious quality problems; 2-2 Excel table. To prove: The
statistics for the complaining on quality of ice hockey goals in April of
2013; 2-3 Emails correspondences between Respondent and Claimant. To
prove: Respondent has communicated the quality problems of ice hockey
goals with Claimant many times. The three groups of evidence above
prove jointly that, I) There are serious quality problems in the ice hockey
goals sold to the Respondent by the Claimant. 2) The ice hockey goals are
parts of the 28 shipments of goods claimed by the Claimant, from several
shipments. 3) When the quality problen1 appeared, in the process of
communication with the user, the Respondent notified the Clai.Jnant of the
quality complaining. Both the parties signed the Agreement in 20 I 0, the
business of ice hockey goals took place after signing the Agreement, and
there were severe quality problems in the Claimant's products from the
beginning of the business. The period of emails is from 2011 to 2013, and
there is feedback of quality problem in the email. The receivers of the
Claimant include Jenny Zhang, jjtool and jjmichael, and the address of the
emails above are all belong to the staff of the Claimant, being clearly
shown in the emails provided by the Claimant. However, the Respondent
                                    34
could not find out during the hearing in which email the Respondent
negotiated with the Claimant about the quality problem.
      The Claimant's viewpoints: I) The Respondent is a foreign enterprise.
All the evidence submitted by the Respondent is originated from a foreign
count,y. These evidences should be notarized and certified before it can be
effective evidence in China. However, the Respondent did not notarize or
certify the evidence, as a result, these evidence should not be accepted in
the arbitration tribunal in China. 2) Through comparison between the
evidence submitted by the Respondent during arbitration hearing and that
evidence they submitted before the time limit for adducing evidence, the 2
sets of evidence cannot match. The pieces of evidence submitted by the
Respondent are all beyond the time limit for adducing evidence, as a result
the Respondent should bear the liability of failure of adducing evidence. 3)
All the pieces of evidence submitted by the Respondent are photocopies,
without any originals to support. So the authenticity of the evidence is not
affirmed. 4) The Respondent failed to display originals of the email
evidence during arbitration hearing, so the authenticity of these emails
evidence cannot be affirmed. 5) From the contents of the evidence we can
see that Respondent's claims are based on the unilateral statement of itself.
The Claimant had never confinned any facts claimed by the Respondent.
lfthe Respondent's statement that the customer complained of the product
quality and there is loss to the Respondent were true, the Respondent
should have provided evidence to prove that the Respondent had made
compensation to the customer or there had been legal dispute between the
Respondent and the customer, there should be overseas legal documents to
confirm the product quality problem and the duty of compensation,
however, the Respondent has not provided any relevant evidence. 6) The
Respondent refused to admit that it had received the goods dming the first
hearing. However, it submitted evidence to attempt to prove. the "quality
problems" of the goods, and the "service'' it provided for the goods in this
hearing. The Respondent's arguments and evidence are self-contradictory,
which reveals that the Respondent has no integrity and credibility, and all
of its arguments and evidence are for the only purpose of not paying for
the goods. 7) The evidence submitted by the Respondent to prove quality
problem is in the form of photos. The products in the photos cannot be
proved to be the products produced and delivered by the Claimant. The
photos cannot prove that there were quality problems in the products at the
time of leaving the factory or after being used by the Respondent. 8) The
problem that the Respondent's claim is the quality of the net. But the
Respondent contacted with the supplier directly. It has nothing to do with
the Claimant, thus, the claimant does not need to be responsible for it. 9)
Although there is no quality problem in the Claimant's products, the
Respondent still deducted US $95110.56 from the payment forcibly. The
Claimant urged the Respondent to many times pay, but the Respondent
refused to do it. I 0) The evidences which the Respondent submit all
                                     35
belong to their unilateral statement. The Claimant never recognized it
before. The quality problem which the Respondent claimed also does not
have any identification or certification by a third-party institution. Besides
this, they even do not have judicial documents by foreign court which is
enough to show that there is no quality dispute between the Respondent
and foreign customers. In conclusion, the evidence is far from proving that
the Claimant breached the Agreement, but proves that the Respondertt
breached the Agreement.
      The Respondent's viewpoint: The evidence of email on 269 page
proves that the Respondent only provided the hockey goal sample and the
specification requirements and the Claimant shall purchase the raw
materials on its own in China for production; The dispute on the fund of
US$95, 110.56 focuses on shelters and is in-elevant with hockey goals; The
several hundreds of emails submitted by the Respondent complaining on
the hockey goals were all forwarded from the third party, EZGOAL's after
service center's email box (service@ezgoal.net) and were only a part of
the emails. The Claimant not only ignored the quality problems of its own
products, but also ignored the complaints from thousands of emails and
denied the existence of these quality defects.
      3-1 Email co1Tespondence, P312-340. To prove: The Respondent
provided zipper machine and UV machine to Claimant, helped Claimant
adopt new technology, speed the production efficiency and improve the
quality, and the zipper machine and UV machine were sold to the
Claimant; 3-2 Email correspondence, P34 l-372. To prove: Respondent
helps Claimant revise and finalize the products advertisement Oil Global
Source Magazine; 3-3 Email con-espondence, P373-407. To prove:
Respondent helps Claimant revise and finalize its PPT proposal to CTC;
3-4 Email con-espondence, P408-500. To prove: Respondent helps
Claimant improve shelters, canopies, etc. which are supplied to CTC; 3-5
Email correspondence, P501-519. To prove: Respondent helps Claimant
Oil after-sale service and maintain client via emails and meeting with CTC;
3-6 Email correspondence, P520-600. To prove: Respondent helps
Claimant do the photo-shoots for products manual and advertisements,
revise and finalize the shelter manual; 3-7 Email correspondence,
P60 L-651. To prove: Respondent helps Claimant solve the patent case; 3-8
 Email correspondence, Page 652-667. To prove: . Respondent helps
Claimant improve the packaging; 3-9 Email conespondence, Page
668-678. To prove: Respondent helps Claimant make the frames more
 sturdy; 3-10 Email correspondence, Page 679-703. To prove: Respondent
 helps Claimant revise and finalize the canopy manual; 3-11 Email
con-espondence, Page 704-705. To prove: Products like shelters, etc. sold
 online by CTC which is Claimant's client are the new products which
 have been improved by the Respondent. The evidence above jointly
 proves that the Respondent has improved and upgraded the Claimant's
products, including but not limited to shelters and canopies, and the
                                      36
 prerequisite of splitting profits was met, thus, the Claimant should split the
 relevant profits with the Respondent according to the Agreement and other
 agreements of both the parties.
       The Claimant's viewpoints: I) The Respondent is a foreign enterprise.
  All the evidence submitted by the Respondent is originated from a foreign
  country. These evidences should be notarized and certified before it can be
 effective evidence in China. However, the Respondent did not notarize or
 certify the evidence, as a result, these evidence should not be accepted in
 the arbitration tribunal in China. 2) Through comparison between the
 evidence submitted by the Respondent during arbitration hearing and the
 evidence they submitted before the time limit for adduci.ng evidence, the 2
 sets of evidence cannot match. The evidence submitted by the Respondent
 is all beyond the time limit for adducing evidence, as a result the
 Respondent should bear the liability of failure of adducing evidence. 3)
 All the pieces of evidence submitted by the Respondent are photocopies,
 without any originals to support. So the authenticity of the evidence is not
 affinned. 4) The Respondent failed to display originals of the email
 evidence during arbitration hearing, so the authenticity of these emails
 evidence cannot be affirmed. 5) From the contents of the evidence we can
 see that Respondent's claims are based on the unilateral statement of itself.
 The Claimant had never confomed any facts claimed by the Respondent.
 If the Respondent's statement that the customer complained of the product
 quality and there is loss to the Respondent were true, the Respondent
 should have provided evidence to prove that the Respondent had made
 compensation to the customer or there had been legal dispute between the
 Respondent and the customer, there should be overseas legal documents to
 confirm the product quality problem and the duty of compensation,
 however, the Respondent has not provided any relevant evidence. 6) The
 Respondent refused to admit that it had received the goods during the first
 hearing. However, it submitted evidence to attempt to prove the "quality
problems" of the goods, and the "service" it provided for the goods in this
hearing. The Respondent's arguments and evidence are self-contradictory,
which reveals that the Respondent has no integrity and credibility, and all
of its arguments and evidence are for the only purpose of not paying for
the goods. 7) The evidence submitted by the Respondent to prove quality
problem is in the fonn of photos. The products in the -photos cannot be
proved to be the products produced and delivered by the Claimant. The
photos cannot prove that there were quality problems in the products at the
time of leaving the factory or after being used by the Respondent.8) In
view of the Respondent's evidence 3- 1, the Claimant's viewpoint: CDThe
page 3 12 to 313 in the evidence is about a sewing machine. We do not
recognize the authenticity of the evidence because what the Respondent
mentioned was a zipper device. The contents of the E-mai I have no
connection to the Claimant and the photo in the attachment shows that the

                                     37
date of the equipment is from May 25, 2006 to October 31, 2006. The time
difference is obviously great bet\1Veen the sending time and time of the
annex. @The page 3 l 4 in the evidence shows that the efficiency of the
machine is much lower than that of the Claimant. Per the page 317, the
Respondent and the Claimant buy the equipment from the supplier
respectively so it cannot prove that the Respondent take the initiative to
promote our production technology. @ At the bottom half part of the
Evidence P 317, it can be seen that the Respondent bought this sewing
machine just on the basis of the specifications the Claimant gave. But the
Respondent never provided the Zipper equipment to the Claimant. So, the
Respondent just played a role as an agent. Per the provisions of the civi l
law, the legal effects attribute to the principal, it can only show that the
Claimant replaced equipment by itself instead of the Respondent's
technology support. So even if the working efficiency of the sewing
machine improved a lot, it also has nothing to do with the Respondent.
@The cross-examination view of the Respondent on page 312 to 314
refers to the opinion that they purchase the devices from supplier. The
E-mail mentioned that the head of the Respondent, Brian, ordered sewing
machine from supplier in the United States in February 20 I 0. It cannot
prove that it was ordered from the Claimant or it has been provided to the
Claimant. @ The cross-examination view of the Respondent on page 324
to 327 is not true. Based on the Claimant's instruction, the Respondent
purchased the machine. The relationship between both the parties is
buyer-seller relationship. So, it has no connection with improving
production efficiency. @ ln the cross-examination view of the Respondent,
it can be seen that the Respondent purchased the mach ine according to the
Claimant's instruction. The Respondent bought the machine as an agent.
So, it has no connection with improving production efficiency. 9) In view
of the Respondent's evidence 3-2, the Claimant's viewpoint: The
Respondent just assisted the Claimant revise part of the propaganda text.
At the revision process, the Respondent had lost connection for several
times. And there are many marking errors in the text. The potential
customers, who carry on the inquiry in the propaganda process, have been
already connected with the Respondent. So, there is no evidence to prove
that the Respondent provided any new technical supports or develops new
customers for the Claimant. What's more, the content of this evidence
does not constitute any of Atticle l .4 of the Distribution Agreement, so it
cannot prove the Respondent could enjoy the exclusive rights or the right
to share profits. 10) In view of the Respondent's evidence 3-3, the
Claimant's viewpoint: The authenticity of evidence shall not be accepted,
because the Respondent did not show the email in court, unable to continn
that the attached PPT is the email attachments. Even if the evidence is true,
it also cam1ot prove that the Respondent fulfilled the obligation in Article
 I .4 in the Distribution Agreement. This evidence just set forth that the
Resp~ndent has assisted the Claimant modified part of the text in PPT
                                     38
 which was prepared for propagandizing CTC to the customers. This has
 nothing to do with this case to be proved. 11) At the middle part of
Evidence page 408 is the E-mail that the Claimant sent to the Respondent,
clearly set forth that the attachment is the improvement scheme of
37- 1398 goods which. was proposed by the Claimant. The Claimant
suggested changing the goods' bracket to the bevel, and hoping the
 Respondent can provide some advice. The half part of this page is the
 Respondent's email which confirmed the work of the Claimant. On the
 upper half part of page 417 is the E-maiI sent by the Respondent. It clearly
specified the text which needed to be modified, without providing any
suggestions to the products needing to be improved. The manual
 mentioned in page 454 and 457 is the Respondent's own propaganda for
his own products, not applicable to the Claimant. The modified proposal
was proposed by the Claimant, not the Respondent. The Respondent only
assisted modifying the verbal expression of the product introduction, and
it is also the propaganda for the Respondent's own product, which cannot
prove the Respondent has provided any new teclm.ical supports. 12) In
view of the Respondent's evidence 3-5, the Claimant's viewpoint: At the
upper half part of page 50 I, the Clai1nant severely criticized the activities
of the Respondent contacting its customer in private. In the middle part,
the customer also severely criticized the Respondent's behaviors. On page
501 to 502 and 508, the Respondent propagandized their own brand to the
Claimant's customer in private. Shelterlt is the brand and trademark of the
Respondent's product. The evidence cannot prove the Respondent
provided the service for customer according to the Agreement, on the
contrary, it can prove that the purpose of the Respondent to contact with
the Claimant's customer is to replace the Claimant and rob the Claimant's
customer source. 13) In view of the Respondent's evidence 3-6, the
Claimant's viewpoint: No proof to prove that the Respondent provided
any help for the Claiinant's propaganda work. On the contrary, it can
prove that the Respondent has never revised or improved the product
manual symbolically. The Respondent just simply provided their Ovvn
propaganda material without revising or amending the Claimant's material.
The Claimant cannot use the material or use it as reference because it has
the Respondent's own trademark on it. In addition, it can be seen on page
of 568 (May 4) and 592 (May I I) io the email, the Claimant had urged the
Respondent two times to revise our product manual but the Respondent
ignored. 14) In view of the Respondent's evidence 3-7, the Claimant's
viewpoint: The emai l in Page 637 is just a tort issues for the opinions of
the Claimant. However, the Respondent did not give the Claimant a clear
opinion. ln Page 648 in the email, it was mentioned that the Respondent
did not handle things relating to infringement rather than having handled
them. As for how to deal with the infringement, there is no evidence to
prove. All the statements are from the Respondent without being
confinned by the Claimant. The evidence can only prove that both the
                                     39
parties talked about patent dispute issues in the email but it cannot prove
that the Respondent has helped the Claimant handle them or perfonned the
obligation of "Review and redesign the products the suppliers is
infringing" in the Article 1.4.6 of the Agreement. 15) In view of the
Respondent's evidence 3-8, the Claimant's viewpoint: In the middle pait
of email in the page 653, one of the working staff of the Respondent said
'the attachment is our l O x IO x 8, I9384878 shelter order manuals' . In
page 661 in the email he said 'we have confirmed the packaging
information of the shelter order. . .... '. So, the IO x IO x 8, 1934878 shelter
was ordered by the Respondent. They provided their own product
specifications for only one time. The products were exported only to the
Respondent therefore there is no evidence to prove that the Respondent
helped us to improve the packaging system of the product. 16) ln v iew of
the Respondent's evidence 3-9, the Claimant's viewpoint: This evidence
exactly proves that the idea of reinforcing the product structure was
 provided to the Respondent by the Claimant. Based on email in the page
675, the conclusion can be drawn that the Respondent's claim is the other
 way around. 17) ln view of the Respondent's evidence 3- 10, the
Claimant's viewpoint: The emails between the working staff are all the
Respondent's unilateral statements which have no connection with the
case. Also, it cannot prove that the Respondent has helped the Claimant to
 modify the instruction. 18) In view of the Respondent's evidence 3-1 1, the
Claimant's viewpoint: The authenticity is not recognized, no connection
 with this case.
     In view of the Claimant's viewpoints above, the Respondent's point of
 view: I) The sewing machine mentioned in the evidence is the zipper
 machine claimed by the Respondent for production of zippers. The
 working efficiency of it is much higher than the old equipment. The email
 sent by Jenny to Brain in P327 can prove it. Moreover, P26 of the new
 evidence submitted by the Claimant about the cost of two sewing
 machines in the statement of account in 201 I can also prove the fact that
 the Claimant bought two zipper machines from the Respondent. 2) They
 are garbled statement of the Claimant. The email in P358-359 proves that
 Brian helped the Claimant to revise the draft of advertisement and
 detennined the final version. 3) The email in P373 is the answer from
 Brian to Jenny, telling Jenny that the Addendum is the advertisement PPT
 revised and completed, asking Jenny to provide pictures of new products.
 The PPT is for recommending the new products to the important customer
 CTC. The assistance of the Respondent in revising the PPT is an important
 reflection on the Respondent's helping the Claimant in upgrading products
 and setting up customer service. 4) The Claimant garbled from the
 contents of the email, without being clear about the contents totally
 groundless. CD P408 of the evidence proves that the Claimant asked
 suggestion from the Respondent on the improvement scheme of the
 product, the contents of the Addendum in P409-4 l 4 are the initial scheme
                                       40
of the Claimant; P4 l 5 of the evidence proves that Jenny sent an email to
Brian, asking Brian to help to finish the improvement scheme of three
products of the customer CTC, and Brian helped and completed the
scheme; Tn P4 I 7 of the evidence, Jenny sent an email to Brian again,
asking Brian to give specific explanation on the improvement plan and the
specific advantage. Brian gave detailed answer, and suggested Jenny to
take better pictures for advertisement; In P4 I 8-423, the Addendun1 revised
by Brian proves that the Respondent gave detailed complementary
explanation comparing with P409-414 of the document provided by the
Claimant; The email in P424-426 proves that Jenny provided new product
pictures according to the suggestions of Brian; The email in P427-433
proves that Brian accepted the new pictures provided by Jenny and
upgraded the contents of the annex; The e1nail in P434-440 proves that
Jenny noticed Brian, the customer CTC accepted all the in1provements
made by Brian upon the products. All the improvement measures related
to the 37- 1398 shelters in the emails above were put forward by the
Respondent and helped the Claimant to finish them. Although the
Claimant made the initial PPT document for the improvement measures,
the key wording was revised by the Respondent; Also, when the
Claimant's customer CTC required tor further explanation of the
improvement measures, the Claimant had no choice but asked help from
Brian. Suppose these improvement schemes had been made by the
Claimant, it would be ridiculous that the Claimant could not even tell the
fundamental principles and reasons oftbe product! Like the saying "Know
how, Know why''. It is obvious that all the improvement measures of the
products were given by the Respondent and completed with the help of the
Respondent. ® The email in P441-500 proves that the Respondent helped
the Claimant make the new user's manual for the products. Those in
P44 I-453 are contents of the user's manual provided to the Clai1nant, and
those in P480-492 are the contents of the manual revised by the
Respondent. Obviously, there are many changes in the later version
comparing with the old version; The email in P498-500 proves that Brian
took new advertising pictures for the manual, Jenny accepted them
completely and used them in the advertisement brochure. Actually, in the
present user's manual for products being sold to CTC customer, the
version revised by the Respondent and the advertisement pictures
provided by the Respondent are still being used. The user's manual of
product is an important part of the product. The evidence above proves in
detail that the Respondent helped the Claimant make maoy improvements
on 37- 1398 shelters and revised the user's manual. 5) The Claimant
garbled from the contents of the email, without being clear about the
contents, and the cross-examination opinions on the evidence 3-5 are
totally grow1dless. In P513, Brian sent an email to the third party CTC
customer, stating clearly that the price of the ShelterlT shelter would be
offered by the Claimant soon; Also, Brian expressed gratitude to CTC for
                                     41
 visiting JJ company at beginning of the email, and recommended to CTC
 many times the experiences and products of the Claimant. Obviously,
 during communications with the customer CTC, the Respondent had never
 hidden the Claimant, on the contrary, represented the Claimant all the time
 as one party together with the Claimant. Therefore, the cross-examination
 opinions of the Claimant are garbled and totally groundless. 6) The
 Claimant garbled from the contents of the email, without being clear about
 the contents, and the cross-examination opinions on the evidence 3-6 are
 totally groundless. In P529-533, the email, proves that the Claimant
 required the Respondent to provide pictures of the product, and the
 Respondent provided the original diagram of the product he took in USA
 to the Claimant; ln P542-548 of the evidence, the email and its annex,
 prove that the Respondent helped the Claimant revise the adve1tisement
 leaflet of the outdoor canopies. In P568 of the evidence, the email, proves
 that Jenny accepted and thanked Brian for the design and improvement of
the advertisement leaflet for outdoor canopies, in the mean time, hoped
 Brian to help to revise the user's directions for shelters with the model of
 1OxlO. Helping to revise and perfect the adve1iisement leaflet is an
important aspect to improve the product, hence, the evidence 3-6 shows
and proves in detail that the Respondent helped the Claimant improve the
product of outdoor canopies. 7) The Claimant garbled from the contents of
the email on purpose, or the translation and understanding of the contents
of the email are one-sided and mistaken. For the email of the Claimant in
P637 of the evidence, asking for help, the Respondent gave clear answer
in the email in P648 of the evidence: The Respondent has communicated
with the American lawyer, and the conclusion is that it is better not to
answer for the infringing case; The Respondent provided relevant revision
for the product of the Clain1ant, in the mean time, the Respondent had
applied before for the related patent (pending), hence, to deal with the case
with the two measures above. Moreover, the email in P601 -636 and the
Addendum also prove that the Respondent had reminded the Claimant
seriously about the risk of infringing patent, and provided the patent
documents obtained by the Respondent in USA for the Claimant to study.
8) According to Article 2.4 of the Distribution Agreement, there are two
types of products under the Contract, the first type is all the products
manufactured or produced by the Claimant with specifications provided
by the Respondent. The evidence 3-8 proves that the Respondent provided
the model of the IO x I Ox8 shelters which were produced by the Claimant,
and the new evidence submitted by the Claimant also proves it. Obviously,
the Claimant does not understand the contents of the Contract coJTectly.
However, the cross-examination opinions of the Claimant just prove the
viewpoint of the Respondent. 9) The translation and understanding of the
email contents by the Claimant are completely wrong. The email and its
Addendum in P674-678 of the evidence prove that the technician King
sent by the Respondent to work in the Claimant's factory asked Brian
                                     42
about relevant questions on the new products obtained from Shelterlogic;
The email in P675 proves that Brian answered the questions in detail,
pointed out the sho1tcomings of the product, provided suggestions for
improvement, and copied the email to relevant person in charge. Hence,
"Claimant provided reinforcement structw·e himself' stated by the
Claimant is the totally misunderstanding of the evidence. I 0) The
Respondent helped the Claimant to revise and complete the user's
directions of the car shelters, and provided the advertisement pictures in
the directions. 11) The screenshot of the goods on sale in the CTC website
is authentic and effective.
      4-1 Excel table for sales amount of shelter and canopy. To prove: The
total aiuounl of shelters and canopies which Claimant has sold to CTC and
CPI in year 20 l 0, 2011, 2012 and 2013. The Evidence 4-1 comes from the
Claimant, since tl1e cooperation between the Respondent and the Claimant,
rwo of the Respondent's staff members were sent to the Claimant's place
one by one to do the technical instruction in field and communications of
relevant matters. The evidence was obtained from the staff of the Clai111ai1t;
4-2 Email correspondence, Page736-76 l. To prove: The orders which is
placed by the Respondent to Claimant shows that new products are still
ordered after May of 2013. It relates with the point of new customer and
old customer in 1.4 of the Agreement. When the product is improved, the
business with new customer must go through the Respondent. Menard is a
new customer, and the order shall be made from the Respondent to the
Claimant. The evidence is mainly to prove that there is business between
the new custon1er and the Claimant, but the Respondent cannot control the
 income from the sale, and the Claimant has not distributed any profit to
the Respondent according to the Agreement. The evidence is the basis of
 part of the profit distribution to the Respondent; 4-3 Email correspondence,
Page 762-767. To prove: All the cost infonnation of products which
 Respondent obtained from the Claimant. The evidence is the internal
 production cost of the Claimant to prove the difference between the cost
 and sales price of the product of the Claimant, so as to measure and
 calculate the profit distribution of the Respondent; 4-4 Email
 conespondence, Page 768. To prove: The Claimant corruuitted 8% profit
 to the Respondent for the sales of new products in accordance with
 Agreement. lt directly proves that the agreement in sales profit distribution
 proportion of the product under the Agreement shall be on the basis of
 8%.
      The ClaimaJ1t'S viewpoint: 1) The Respondent is a foreign enterprise.
 All the evidence submitted by the Respondent is originated from a foreign
 country. These evidences should be notarized and certified before it can be
 effective evidence in China. However, the Respondent did not notarize or
 certify the evidence, as a result, the evidence should not be accepted in the
 arbitration tribunal in China. 2) Through comparison between the

                                      43
evidence submitted by the Respondent during arbitration hearing and the
evidence they submitted before the time limit for adducing evidence, the 2
sets of evidence cannot match. The pieces of evidence submitted by the
Respondent are all beyond the time limit for adducing evidence, as a result
the Respondent should bear the liability of failure of adducing evidence. 3)
All the evidences submitted by the Respondent are photocopies, without
any originals to support. So the authenticity of the evidence is not affinneci
4) The Respondent failed to display originals of the email evidence during
arbitration hearing, so the authenticity of these emails evidence cannot be
affirmed. 5) From the contents of the evidence we can see that
Respondent's claims are based on the unilateral statement of itself. The
Claimant had never confun1ed any facts claimed by the Respondent. If the
Respondent's statement that the customer complained of the product
quality and there is loss to the Respondent were true, the Respondent
should have provided evidence to prove that the Respondent had made
compensation to the customer or there had been legal dispute between the
Respondent and the customer, there should be overseas legal documents to
confirm the product quality problem and the duty of compensation,
however, the Respondent has not provided any relevant evidence. 6) The
Respondent refused to admit that it had received the goods during the first
hearing. However, it submitted evidence to attempt to prove the "quality
problems" of the goods, and the "service" it provided for the goods in this
hearing. The Respondent's arguments and evidence are self-contradictory,
which reveals that the Respondent has no integrity and credibility, and all
of its arguments and evidence are for the only purpose of not paying for
the goods. 7) The evidence submitted by the Respondent to prove quality
problem is in the fonn of photos. The products in the photos cannot be
proved to be the products produced and delivered by the Claimant. The
photos cannot prove that there were quality problems in the products at the
time of leaving the factory or after being used by the Respondent. 8) The
 Respondent confirmed just now that two of their staff members were sent
to the Claimant's place one by one to do the technical instruction in field
and com.munications of relevant 1natters. This shows that the Respondent
has complete ability to monitor and instruct the production of the
Claimant as well as to make inspection before shipment. Therefore. the
Respondent's statement that they received the complaining of the quality
 problem after the goods were resold to the final customer is not reasonable,
and it is not the responsibility of the Claimant. The Claimant has not
 found Evidence 4-4, the record of the email. Moreover, from the contents
 of the email, it can be seen that it is the discussion of the prices of four
 products in October 20 I 0, there is no relation with this case. 9) Evidence
 4-1, authenticity is not recognized, no connection with this case. Evidence
 4-2, it has no connection with this case, refusing to make
 cross-examination. Evidence 4-3, it can only prove that the Claimant
 offered prices for some types the products, not all the quotations. The cost
                                      44
prices of the Claimant's products cannot be proved. Most parts of the
 Emails are their own statements without being confirmed by the Claimant.
So, this evidence could not prove Respondent's claims. Evidence 4-4, it
can show that it was the Claimant to ask for the product and price. Firstly,
it is clearly an offer but the Respondent did not give a promise
immediately or in a reasonable period. Therefore, the agreement is not
established per Articles 22, 23, 25, 26 of the "Contract Law". Secondly,
the four kinds of specifications of the product are not of the product
mentioned in the Agreement. Thirdly, the prices for these four kinds of
CTC product are only limited in 2011 , not the final prices. At last,  ere
did not accept the price. Therefore, even if the Respondent promised to
accept the goods, they also need to meet the following conditions. Firstly,
the product only contains these four kinds of specifications listed in the
email. Secondly, CTC needs to agree the Claimant's quotation. Thirdly,
the Claimant exported product to CTC. But in fact, the Claimant did not
reach an agreement with      ere    or export product to     ere.   So, the
Respondent has no legal or factual basis to ask the Claimant to distribute
profit based on the 8% for all export volu1ne. The Respondent, per his
evidence 4-4 listed in the product offer of four specifications, expands its
range to Claimant's every export product, and there is no evidence that
both the parties had previously had any intention, which apparently is the
Respondent's personal conjecture. As mentioned above, the Respondent
has never provided the Claimant with specifications and the purchase
order of so-caJ!ed "mobile housing" and "mobile shelter" and other
products, let alone made any contribution to the production. So, the
product does not lie within the scope of the Distribution Agreement. And
then the Respondent asking for the profit is clearly unfounded. Per the
Respondent's evidence 4-4 listed in the product offer of tour specifications,
the agreement is not established, and the four involved specifications of
the product did not export. Therefore, the Claimant has no right to claim
profits. The Claimant has been at a loss since the sign of the Distribution
Agreement. So, there's no profit can be allocated.
     Tn view of the above, the Respondent's point of view: 1) The product
quality problem claimed by the Respondent is mainly upon the ice hockey
goals, and the profit distribution is mainly on the shelters and canopies.
The Claimant's statement that the staff of the Respondent was in field and
there should be no quality problem when the products reach the final
customer is false. First, according to the two of the Respondent's staff, the
communication between the Claimant and them was only in the aspect of
technical instruction, the Claimant repelled them in other aspects. They
cannot cover the quality and shipment of the Claimant at all. Second, the
qualified state of the products in delivery cannot eliminate the quality
problem in the course of using of the products, and the product quality
responsibility cannot be exempted. 2) As to the cross-examination

                                     45
opinions of 4-1, The sales amounts of shelter and canopy are all provided
 by the Claimant's clients, CTC and CPI which are objective, authentic and
effective; 1neanwhile, the Claimant did not provide any adverse evidence
to object, so 4- 1 evidence should be recognized and accepted.; As to the
cross-examination opinions of 4-2, Page 736 email and the attachment
prove that new products are still ordered after May of 2013 by the
Respondent from the Claimant and all the relevant emails were sent or
copied to the Claimant, so all these orders are notified to and knov.'ll by
the Claimant; As to the cross-examination opinions of 4-3, The rele,·ant
cost and quote info,mation provided are all the information which the
Respondent knew about the quote o f the products; As to the
cross-examination opinions of 4-4, Page 768 email was sent by Jenny
actively to Brian in which Jenny offered the quote and profit distribUiion
of the products and the content of email is the true and effective
expression of the Claimant's intention; also the commitment of 8% profit
to be distributed to the Respondent is not an invitation. Additional!),
whether CTC will accept the quote in the email cannot effect the
Claimant's commitment of profit distribution to the Respondent. In the
mean time, Page 768 email was sent by Jenny actively to Brian in "'bich
Jenny offered the quote and profit distribution of the products and the
content of email is the true and effective expression of the Claimant's
intention which proves that committed profit proportion to be distributed
to the Respondent by the Claimant is 8%. The Claimant has no grounds
for its statement that "the Claimant has been in the status of losses since
execution of the exclusive Distribution Agreement with the Respondent
and has no profit to distribute". Firstly, the annual report and other
relevant fo1n1s provided by the Claimant have no relevance with the case.
According to the audited reports of the Claimant, JJ also has constructions
in process, bank loans and many payables and receivables among many
international and domestic companies besides its daily operations, of
which all these are not relevant with the case. Oppositely, the sales of the
products which are improved by the Respondent have increased sharply
annually and the Claimant has gained a very significant profit. Ifs obvious
from the customs report that the Claimant's sales of shelters during year
20 IO to 20 I 5 increased sharply year by year.
      5- 1 Email con-espondence, Page 769-775. To prove: Claimant
attended a Show in US independently for marketing without the
acknowledging the Respondent which violated Item I, Article 3 .3 of the
Agreement; 5-2 US trademark website shot, Page 776-782. To prove:
Claimant applied for the trademark "Weather Fast" for its products in US
and Canada without notifying Respondent, which v iolated 3.3 of the
Agreement; 5-3 CTC online products shot CTC,Page783-788. To prove:
Claimant sold I 8x2Q, 9x 10,8x8 and 6x6 shelters to CTC without
acknowledging the Respondent which violated the Agreement. For the
8x8 and 6x6 products, the prov1stons of exclusive agency in the
                                    46
Agreer·nertt are violated, and the Claimant should bear the responsibility of
breach to the Respondent. There shall be propaganda photos of the
product when you open the details of the product. All the photos were
taken by the Respondent due to requirement of the Claimant for
propaganda and sales of the product. Thus, it can be determined that the
product in the evidence is produced by the Claimant.
      The Claimant's viewpoints: l) The Respondent is a foreign enterprise.
All the evidence submitted by the Respondent is originated from a foreign
country. These evidences should be notarized and certified before it can be
effective evidence in China. However, the Respondent did not notarize or
certify the evidence, as a result, these evidence should not be accepLed in
the arbitration tribunal in China. 2) Through comparison between the
evidence submitted by the Respondent during arbitration hearing and the
evidence they submitted before the time limit for adducing evidence, the 2
sets of evidence cannot match. The evidences submitted by the
Respondent are all beyond the time limit for adducing evidence, as a result,
the Respondent should bear the liability of failure of adducing evidence. 3)
All the pieces of evidence submitted by the Respondent are photocopies,
without any originals to support. So the authenticity of the evidence is not
affirmed. 4) The Respondent failed to display originals of the email
evidence during arbitration hearing, so the authenticity of these emails
evidence cannot be affim1ed. 5) From the contents of the evidence we can
see that Respondent's claims are based on the unilateral statement of itself
The Claimant had never confirmed any facts claimed by the Respondent.
If the Respondent's statement that the customer complained of the product
quality and there is loss to the Respondent were true, the Respondent
should have provided evidence to prove that the Respondent had made
compensation to the customer or there had been legal dispute between the
Respondent and the customer, there should be overseas legal documents to
confi1m the product quality problem and the duty of compensation,
however, the Respondent has not provided any relevant evidence. 6) The
Respondent refused to admit that it had received the goods during the first
hearing. However, it submitt.ed evidence to attempt to prove the "quality
problems" of the goods, and the "service" it provided for the goods in this
hearing. The Respondent's arguments and evidence are self-contradictory,
which reveals thaL the Respondent has no integrity and credibility, and all
of its arguments and evidence are for the only purpose of not paying for
the goods. 7) The evidence submitted by the Respondent to prove quality
 problem is in the form of photos. The products in the photos cannot be
proved to be the products produced and delivered by the Clainlant. The
photos cannot prove that there were quality problems in the products at the
time of leaving the factory or after being used by the Respondent. 8) For
the Evidence 5- 1, it is an email transmitted from the Respondent to the
 Respondent's attorney, whether the email is revised or not in the course of

                                     47
transmission is unknown. Fmthermore, the fact that the Claimant taking
part in a show in the United States cannot be seen from the lhree photos
attached in the email. Even so, if the Claimant took part in lhe show. no
 provision in the Agreement by both the paiiies would be violated. h is
 groundless for the Respondent to think that the Claimant violated the
 Agreement. For Evidence 5-2, the authenticity is not confirmed. and the
 duplicated document was formed outside China. The fact that the
 Claimant applied overseas trademark cannot be seen from the contents of
 the evidence, the fact that type of commodity with the regista-ed
 trademark be the product in this case cannot be seen either. E\en if !he
Claimant appl ied the registration of trademark overseas, no pro\ ision in
 the Agreement by both the parties was violated. For Evidence 5-3. the
authenticity is not confirmed, it cannot be seen from the printed docwnent
of the website that the product shown has been produced and sold by the
Claimant, and the Claimant has provided evidence to prove that e- en if
 there is any product delivered to CTC, it shall be under the definite
instruction of the Respondent. The Claimant is not the only supplier so
even if CanadianTire sold 18 x 20 shelter, he stil I can purchase goods from
other company. Thus, the evidence was not relevant to the case. There is
no basis for the Respondent claiming liquidated damages, and there is no
evidence to prove any loss. First, in the case, the Respondent did not ha\e
any actual loss. As mentioned before, the Respondent has obtained a b.uge
runount of profits and other illegal benefits under the protection of legal
coat of the Agreement. And the Respondent cannot prove his loss in the
perfonnance of the Agreement. Second, Per Chinese Contract La\\. lhe
liquidated damages claimed by the Respondent are too high. \,hich shall
not be higher than 30% of the actual loss. Third, the Arbitra1 Tribunal shall
take full consideration of the Respondent's malicious deed and
nonperformance while signing and carrying out the Agreement. and
dismiss the Respondent's motion. 9) Moreover, altogether 21 items and
776 pages submitted by the Respondent are all printed documentS of
emails. The Respondent has neither provided the notified and ceni.fied
copies, nor shown the original copies of the evidence during the hearing.
The Clai111ru1t hereby asks the Arbitration Tribunal not to admit the
evidence according to the Arbitration Law and Rules of Evidence in
China.
     In view of the above, the point of view of the Respondent: I) For the
email in Evidence 5-1 , the Respondent has the original email and will
submit it to the Tribunal for examination. The Claimant took part in the
show in the United State to make adve1tisement and marketing of the
products without acknowledging the Respondent in 2012, according ro the
Agreement, the Respondent is an exclusive agent all over the world. the
Claimant should not sell or market the product all over the world except
through the Respondent. In the Evidence 3-7 above, it is mentioned that

                                    48
  the Respondent helped the Claimant to solve a patent dispute in the United
 States. Actually, the patent dispute happened when the Claimant took part
  in the show in the United States without notifying the Respondent and
 traded with the American customer S.HELTERLOGIC. When the
 Clai1nant involved in the patent dispute, the Claimant asked help from the
 Respondent and told the Respondent about the dispute and the photos of
 taking part in the show, and only at that time did the Respondent get to
 know the event that the Claimant took part in the show. Jenny has
 explicitly pointed in page 769 emails to Brian that the pictures attached
 are the booth picture. Both 5-1 evidence and 3-7 evidence jointly prove
 that the Claimant attended a Show in US independently and turned to the
 Respondent for help with respect to that the Claimant was found and
 questioned by Shelterlogic at the show for a patent infringement issue.
 Obviously, the Claimant violated the clause 3.3( I) of the Distribution
 Agreement, so the Claimant should be liable for breach and pay one
 million US dollars. 2) For Evidence 5-2, the trademark WEATHER
 FAST was applied by the Claimant in USPO on October 17, 2013, which
 is the date after both the parties signing the Agreement, i.e., during the
 normal cooperation term of both the parties. Therefore, the action of the
 Claimant violated the agreement of exclusive agency in 3.3 of the
 Agreement. Tt can be seen from the Trademark Application Document that
 the     trademark     covers     "CANOPIES             CANOPIES       FOR
 MOUNTARNEERING OR CAMPING", and the product in the case is
covered in the scope above. Website shots in 5-2 evidence are authentic
and effective. 3) 5-3 website shots are authentic and effective and the
pictures of the products on sale are all taken and provided by the
 Respondent, so it can be confirmed that the products on sale are those
which are improved upon the Respondent's suggestions and technical
support and produced by the Claimant and sold to the CTC without the
knowledge of the Respondent. The Claimant severely violated the clause
3.3(i) of the Distribution Agreement by selling the improved products to
customers without notifying the Respondent, so the Claimant should be
liable for breach and pay one million US dollars. 4) For the Claimant's
Opinion on profit distribution proportion, the Respondent's point of view:
(!)The Claimant confuses the "liquidated damages" and "compensations
for damages". The premise of the liquidated damages is the breach of
contract instead of losses. ln this case, both parties reached an agreement
on the liquidated damages in the Distribution Agreement, namely as long
as the Claimant violates the clause with respect to the Claimant's
exclusive distribution right, the Claimant should pay liquidated damages
in amount of US$1,000,000 to the Respondent. ® The liquated damages
claimed by the Respondent are absolutely not too high. Firstly, the amount
of liquidated damages is explicitly agreed by both parties in advance
comprehensively in consideration of factors like the product improving
technology provided by the Respondent, the previous annually exporting
                                    49
  amount, etc. Secondly, the actual losses caused to the Respondent by the
  breach of the Claimant are too huge and far exceed the amount of
  liquidated damages. The actual losses of the Respondent not only include
  the profits which the Respondent should have received but not actually
 received from the Claimant since the execution of the Distribution
  Agreement, but also include the value of series of product improving
  technologies provided to the Claimant free of charge.
        3 Evidence obtained by the Arbitration Tribunal
       The written and stamped material Information of Export Customs
 Declaration Numbers, Trading Countries. Quantity and Amounts. etc. of
 shelters (commodity code: 94060000) and canopies (commodity code:
 63062200) Exported by Rizhao J&.J Manufacturing Co. Ltd (J&J)
 between January 20, 2010 and July 31, 2015 (42 pages) provided by
 Qingdao Customs of PRC when the Tribunal went to Qingdao Customs
 for it, was cross exami.ned by both the parties under organization of the
 Tribunal during the hearing.
        In view of the written material, the Claimant's point of view: 1) The
 description of all commodities in the Customs Data Table is "mo\'able
 house" . The Customs have not provided data of "mobile shelter" as
 applied by the Respondent in the Application of Evidence. Therefore. the
 data do not have the accuracy, legality and relevance, cannot be used as
 the proof of facts in this case. According to the import & Export Tariff of
 Customs ofthe People s Republic of China (2016 edition), the commodity
 of HS code 9406000090 refers to "other movable houses", and the HS
 code of"movable houses" provided by the Customs is "9406" , obviously,
 the data provided by the Custon1s is not accurate, and the legality and
relevance of evidence is lost. 2) Neither the "movable house" in the data
of the Customs nor the "mobile shelte1~' applied by the Respondent in the
application is the "product" agreed by both the parties in the Distribution
Agreement. The Respondent never provided any specification to the
Claimant or made any purchase from the Claimant. They are not in
accordance with the definition of "product in 2.4 and 2.5 m the
Distribution Agreement; The Respondent claimed that the "movable
shelter was reformed and upgraded by himself, but there is no evidence to
prove it, on the contrary, the Claimant has evidence to prove that the
product was developed and manufactured by himself, and has no
relationship with the Respondent. There is no contract basis for the
Respondent to claim for the profit and require the Claimant to undertake
the responsibility of breach. The Claimant prepared corresponding
customs declaration on the basis of the list provided by the Customs, on
which the imported goods are: movable houses for animals (pet cages),
garden sheds, and not all of them are mobile shelters. In the evidence of
the Claimant, the models of the mobile shelters are 422 I I and 92942. The
models of mobile shelters exported by the Claimant are different from

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each other, and all of them were developed by the Claimant, different from
the product claimed by the Respondent as having provided specifications
for them. The Respondent provided a set of e-mails between the Claimant
and the Respondent, the Respondent provided specifications for the
product of mobile shelter, and the mobile shelter with the specifications of
 tOxJOx8,19384878 was purchased by the Respondent from the Claimant,
and the shelter shall be sold only to the Respondent, thus, the mobile
shelter with the specifications of I Ox I Ox8, 19384878 can be regarded as
the product under the Contract; In evidence provided by the C laimant,
there are 16 models of mobile shelters produced and exported by the
Claimant. The mobile shelters other than the model above were not
designed, reformed or upgraded by the Respondent, and the Respondent
has no evidence to prove it. The shelters of other 1nodels are not under the
Contract, and the Claimant has the right to export them by himself.
      In view of the written material, the Respondent's point of view: I)
The material provided by the Customs is the export information of mobile
shelters and shelters exported by the Claimant Rizhao J&J Manufacturing
Co., Ltd. from January 20, 20 IO to July 3 I, 20 15, including the
description of exported commodity, quantity of export, trading state and
total amount of export. In the Distribution Agreement (hereinafter as
"Contract") signed between the Claimant and the Respondent on January
20, 2010, it is clearly stated in 9. 1 that the period of the Contract is 20
years; The Claimant's export and sales shown in the material provided by
the Customs all took place v.rithin the period of Contract between the
Claimant and the Respondent. 2) According to provisions in 2.4 of the
Contract, the "product" in the Contract refers to all the sports products,
outdoor products, outdoor shelter products and gym equipment, etc. The
product includes two types: one is all the products manufactured or
produced by the Claimant with the product specification provided by the
Respondent, the other is all the products manufactured or produced by the
Claimant according to requirements of customers. It is stated in l .4 of the
Contract: . .....The order must be through the Distributor (Respondent) if
the one of the following happens: name a product, make customer service
for products sold to U.S.A., Canada or other countries, new product (e.g.
upgraded or reformed shelter products), change the label or package, new
customer or new department of the present customer or new purchaser,
examine or redesign the supplier's (Claimant) infringing products. In this
case, the Respondent provided the Claimant the upgrading and reforming
measures as well as directions for a series of products agreed in the
Contract, including the product specifications, according to agreement of
the Contract as well as the market demand and the customer's
requirements. The evidence submitted by the Claimant is sufficient to
prove the above as follows: CD The Respondent provided new zipper
equipment for the Claimant's product of mobile shelter, the production

                                     51
 efficiency was improved, the shelter product is upgraded and refonned.
 P3 I 2-314 of the evidence provided by the Respondent are emails of Brian.
 the person-in-charge of the Respondent, ordering zipper eq uipment from
 the supplier in U.S. P324-327 of the evidence are emails in J une 201 L the
Claunant ordering again sewing machine as well as parts and componenr
from the Respondent. ln P324, the email sent to the Respondem b) the
Claimant, the C laimant expressed clearly that the working efficienC) of
 the two new zipper sewing machines was obviously higher than the old
one, and the quality of the product was also improved; Therefore the
Claimant wanted to buy two more machines and provided the model of the
 machines they needed. @ The Respondent made refonn for a series of
products of mobile shelters with the model of 3 7-1398 sold to CTC and
explained the reason of reform in detail, so that the products of the
Claimant were refo1n1ed and upgraded. In P408-414 of the evidence. lhe
emails prove that, in June 2010, when Brian of the Respondent ga,e the
 revision scheme of the product, the legal representative of the Claimant.
Zhang Yan (Jenny) asked the Respondent to explain the specific
advantages of the revision scheme; Tn P417-42 1 of the evidence. the
emails, Brian, the person-in-charge of the Respondent explained the
 product improvement scheme one by one for the Claimant, e.g.. Lo,,ering
the position of the measurement tube is to make the snow easy co full:
Changing plastic mat into the directly welded steel can make the product
be more stable; Increasing the four supports can make the tarpaulin and
door reach the bottom of the shelter frame, so as to better resist lhe \\ind
and snow. In P434, in July 6, 20 I 6, the email sent by the legal
representative of the Claimant, Zhang Yan (Jenny) to Brian. the
person-in-charge of the Respondent, it is con finned that the customer CTC
company completely accepted all the improvement measures given by the
Respondent, and would begin to produce the reformed new product from
the middle autumn day of 2010. In the mean time, the Claimant asked the
Respondent to help to revise the user's manual of the product and design
the color box. @ In P454, the email answered by Brian of the Respondent
to Jenny of the Claimant as well as the attachment of the email. lhe
Respondent made the specific revision on the user's manual of the mobile
shelter with the model of 37-1398. In the mean time, Brian of the
Respondent took the pictures of the product himself and provided them to
the Claimant for making the manual. Also, in the evidence submitted by
Brian, the emails between Brian and Jenny in P457 are s ufficient to prove
it. T he Respondent helped the Claimant to improve the package of the
mobile shelter produced for the customer CTC co1npany, took pictures for
the outside package, revised and perfected the user 's manuals for the
37-1107 canopy and 37- 1112 mobile sheller. ln P520 of the evidence,
email in January 201 I, the legal representative of the Claimant, Jenny,
requested Brian, the person-in-charge of the Respondent to help improve
the package and revise the user's manual; In P523 of the evidence, email,
                                    52
the legal representative of the Claimant, Jenny, requested Brian, the
person-in-charge of the Respondent to take pictures of the outside package
and design of the mobile shelter; In P530-534, email proves that the
Claimant used the pictures taken and provided by the Respondent as
replacement in the manual for mobile shelters. In P549 of the evidence,
the legal representative of the Claimant, Jenny, requested Brian, the
person-in-charge of the Respondent, to revise the original user's manual of
the IOx20 canopy. The email in P558 proves that the Claimant accepted
the improvement suggestion given by the Respondent and would make
production accord to the suggestion. @ The Respondent helped the
Claimant improve the package technology of IO x IO x8 mobile shelters
with the model of 1934878. In P652-667 of tl1e evidence, emails, in May
2013, Lv, one of the Claimant's staff, asked King, one of the Respondent's
staff, for the package of mobile shelter, and King provided specific
solution scheme. In P660-661, the emails between Lv and King clearly
shows that King gave detailed answering to the questions raised by the
Claimant, solve such problems in package as being too much space at the
bottom of the caiton, too much space for the steel pipe and failure in box
dropping test. In the mean time, King, as staff of the Respondent, was
assigned to the Claimant's factory in Rizhao to give technical assistance in
field. @ The Respondent met persons from the Claimant's customer CIC
company, and helped CTC to make installation of products in field and
technical consultation after sale. In P506-507 of the evidence, Richard and
John from CTC communicated with Brian of the Respondent, hoping
B1ian to help install the mobile shelter with the model of# I399; In P508,
the email sent by Brian to Christina of CTC, Brian gave detailed
improvement suggestion on the product, including thickness of the steel
pipe and specifications of PE. The Respondent helping the Claimant's
American customer to deal with package and giving specific consultation
are exactly the specific reflection of "Set up customer service for the
product sold in USA, Canada and/or other countries."@ The Respondent
helped the Claimant to solve the patent dispute with his customer Shelter
Logic. In P637 of the evidence, Jenny, the legal representative of the
Claimant sent email to Brian of the Respondent, to ask for help of
disposition of the infringement case of package for mobile shelters, the
case was filed by an American customer. In fact, in earlier time, as shown
in P60 I of the evidence, the email between Jenny and Brian, the
Respondent already warned the Claimant that the product may infringe
patent right. In P646 of the evidence, email, it is shown that Brian helped
the Claimant dispose the case properly through communication with
lawyer, etc. The evidence above can prove that, after signing the Contract,
the Respondent provided a series of technical support and improvement
measures for mobile shelters and canopies for the Claimant. They not only
made the products meet the requirements of local customers, but also
improved the quality of the two series of products, increased the security
                                     53
of the product, durability of the pipes and wind resistance. The acticnsE:ld
measures taken by the Respondent were for the product in 1.4 an... - in
the Contract between both the parties. Such facts as time of si~ - = the
Contract by both the parties, the period of existence of the C 111..ct
relation, the time of export of the Claimant's products, the iec~i::al
directions provided for the Claimant by the Respondent on production !!DC
package of mobile shelters are comprehensively sufficient to pro'\'e Ul3l
the large number of mobile shelters and canopies (The transJarioos m-e
different: they are called movable houses in the Customs infon:;;.moo)
exported by the Claimant from January 20, 2010 to July 31. 2015
according to the material obtained by the Arbitration Tribunal from the
Customs are the products agreed in the Distribution Agreement ~lC""O\a-.
as shown in P704-705 of the evidence provided before by the Respo;:;dent.
in the picture taken on July 10, 2015 from the official website ofGC. the
Claimant's customer, the mobile shelter on sale is the product impl"O' ed 0)
the Respondent, and the picture of the mobile shelter shown in ~ was
 provided by Brian himself. Thus, it can also prove that the mobile she ms
and canopies exported and sold by the Claimant are products impro· ed by
 the Respondent. 3) According to the material obtained from the CustOllli.
 the Claimant had been expo11i11g goods continuously to many coumries
 including USA, Canada, Finland, Sweden, Norway, Panama, AUSU'3.lh.
 Denmark, Japan, Philippine and Russia. However, except some oi Ihe
 products exported to USA and Canada, the export and sales of mob:~e
 shelter (movable house) by the Claimant to the countries above have not
 been reported to the Respondent or gone through the Respondent. and I.he
 Respondent knows nothing about them. According to 3.1, 3.2 and 3.3 of
 the Contract, the Respondent has the exclusive right to distribute produclS
 globally, i.e., within the period of the Contract, the Claimant should not
 directly or indirectly get around the Distributor (Respondent) to sell.
 distribute, market or lease the product in the world, or manage to make the
 product available in the market. The Claimant did not inform the
 Respondent, however, the Claimant sold the products "ithout
 authorization in USA, Canada, Australia, Japan and Russia, etc., seriousl)
 breached the agreement of exclusive distribution in the Connact.
  According to Article 12 of the Contract, the Claimant should pa) the
 liquidated damages of USD one million due to the serious breach of the
 agreement of exclusive distribution in the Contract. 4) The material
 obtained from the Customs shows the total sales amount of mobile
 shelters and canopies exported by the Claimant from January 20, '.!0 IO to
 July 31, 2015. In P768 of the evidence, the email is about distribution of
  profits from sales of mobile shelters between the Claimant and the
  Respondent. On October 27, 20 I 0, the legal represcntati ve of the Claimant,
 Jenny, promised to Brian through email that the profit of the J2x20x8
  mobile shelters shall be 8% of the sales amount. It can also be enough to
  prove that the series of improvement and upgrading of the mobile shelters
                                      54
as m Article 2 of the Contract had been completely accepted by the
Claimant, otherwise, the Claimant would not have given written
confirmation on distribution of profit. 5) According to 1.4 in P l and P2 of
 the Contract, new orders from old customers can go through the Claimant,
 but the profit shall be equally divided. The average profit rate in the
 industry of mobile shelters and canopies is 12%, i.e., the profit rate of 6%
can be claimed by the Respondent. In the mean time, the 8% profit above
promised by the Claimant was only for the I 2x20x8 mobile shelters.
Therefore, the Respondent hereby claims that the profit shall be
distributed at the rate of 6%. 6) The export sales amount shown in the
Customs data for the Claimant in the period above is much bigger than the
sales data obtained by the Respondent at the time of submitting the
counterclaim application. In P706-735 of the Respondent's evidence, the
sales amounts of mobile shelters and canopies sold by the Claimant to
CTC and CPl in 20 1I , 20 I 2 and 2013 were USD2704662. 72,
 USD4703906.8 and USD9522279.7, however, the export sales amounts in
the three years shown in the Customs data are much more than the
amounts above. Hence, the Respondent reserves the right to file a separate
case for arbitration, claiming for distribution of profits. Overall, the
evidence materials obtained from the Customs are authentic, objective and
relevant to the case, completely strongly prove the cow1terclaim of the
Respondent. There is serious breach of Contract by the Claimant, the
agreement of exclusive distribution is violated, the Claimant should pay
liquidated damages of USD one million to the Respondent, and the
Claimant should pay the Respondent the profit which should be
distributed. 7) The information provided by Qingdao Customs of movable
houses exported by the Claimant from January 20, 20 l O to July 31, 2015
is completely correct, objective and reflects the export of "mobile
shelters" of the Claimant. First, according to the result of the HS code
found from the website of the Customs Head Office of the People's
Republic of China, there are three types of commodities under
"94060000": 9406000010 refers to the movable houses made of animal or
plant materials; 9406000020 refers to the llEPA closed clean house with
air fan; 9406000090 refers to other movable houses. According to the
business scope and the infonnation provided by the Claimant of the
customs declaration of export goods in P387-1085, it can be confirmed
that the Claimant has never carried out the production of commodities
with HS codes of 94060000 IO and 9406000020. Hence, the export
commodity under the HS code of 94060000 is actual ly the export
commodity of other movable houses with the HS code of 9406000090.
Second, the commodities under the HS code of 9406000090 includes
mobile shelters, movable houses for animals, pet cages, horse face covers
and rabbit cages. However, according to the business scope of the
Claimant and the customs declaration information provided by the
Claimant of the export goods in P387-1085, the commodities exported by
                                     55
the Claimant under the HS code of 94060000 were all mobile shelters, and
the export amount was much more than the sales amount obtained by the
Respondent at the time of submitting the counterclaim. Therefore, the
export data report provided by the Customs has completely reflected the
export and sales of mobile shelters and canopies during the period from
January 20, 20 IO to July 31, 20 I 5, should be accepted and used as
evidence of the case.
      IV Facts in the Case
      The facts found out by the Tribunal:
     1 On January 20, 2010, the Claimant signed the Distribution
Agree1nent with the Respondent. It is agreed in Clause 1.2, the Supplier
(Claimant, hereinafter the same) is interested in manufacturing the Product
and desires to have any and all Product exclusively distributed by
Distributor (Respondent, hereinafter the same) all over the world; Clause
1.3 The Distributor desires to exclusively distribute Product all over the
world; Clause 1.4 When the Distributor makes certain change to the
supplier's organization, new orders from new customers wi 11 go through the
Distributor. New orders from buying divisions of the old customers will go
through suppliers but the profit will be split. New products (sku) from new
or old customers will go through the Distributor. \.Vhen the below listed
situations happen: the orders related shall go through the Distributor;
Clause 1.4.1 Brands the product, Clause 1.4.2 Sets up customer service for
the product in the sold in USA, Canada and or other count1ies, Clause 1.4.3
New products or improve or upgrade old products Examples upgraded
shelter product line, Clause 1.4.4 Changes labeling or packaging, Clause
 l.4.5 New customers or divisions or new buyers of a current customer,
C lause 1.4.6 Review and redesign the products the suppliers is infringing,
C lause 1.6 The Distributor will make available for protection all the patents
old and new that the distiibutor has or does in the future while the
agreement in affect if these patented product are product by the supplier for
the distributor; It is agreed in Clause 2.4, "Product" shall mean any and all
sports products, outdoor products, outdoor shelters, fitness equipment,
trampolines and electronic products, and any other products the Distriburor
introduces or sells, 1nanufactured by the SUPPLIER in accordance with the
Product Specifications and any part or component thereof. whether
replacement or not; Clause 2.5 "Product Specifications" shall mean the
specifications relating to the manufactu1ing of product in sample and bulk
form reasonably established by DISTRIBUTOR and/or required by the
Customer, as may be modified from time to time by; Clause 3.1
DISTRIBUTOR shall have exclusive right to distribute the product all over
the world; Clause 3.2 SUPPLIER shall have the right to distribute the
product by itself in all other countries excluding North America with
written approval from the Distributor. The supplier shall not appoint any
third party as his distiibutor and agent of the Product without written
approval from the Distributor; Clause 3.3 During the term of this agreement,
                                     56
the SUPPLlER (including its directors, 0Wriers, officers, subsidiaries,
associate companies or undettakings) shall not directly or indirectly: (i)
sell, distribute, market, lease or otherwise make available the Product all
over the world except through the DISTRIBUTOR; or (ii) Grant a license,
franchise or any right to anyone other than the DISTRIBUTOR for the sale,
distribution, marketing, leasing, production and manufacturing of the
product all over the world; Clause 4.1 The relationship between
SUPPLIER and DISTRIBUTOR is that of seller and buyer; Clause 4.2
Nothing in this Agree1nent shall be construed or deemed to make any pa1ty
hereto joint ventures or to constitute that either party hereto is an agent or
employee of the other; Clause 7.2 SUPPLIER warrants that all products
shall have been manufactured in compliance with good manufacturing
practices, and comply with all effective at that time laws and regulations
and/or mandatory requirements on Product; Clause 7.3 SUPPLIER will
defend, indemnify and hold DlSTRlBUTOR ham1less from and against
any and all suits, actions, claims, judgments, debts, obligations or rights of
action of any nature or description arising from product liability and defects
with respect to the Product produced by SUPPLIER, and all reasonable
costs, including attorneys' fees, incurred by DISTRIBUTOR; Clause 7.4
DISTRIBUTOR shall defend, indemnify and hold SUPPLIER ha1mless
from and against any and all suits, actions, claims, judgments, debts,
obligations or rights of actions of any nature or description arising from
product liability caused by any Drawing that DISTRIBUTOR submits to
SUPPLIER have confin11ed samples and are approved solely by
DISTRIBUTOR in writing, subject to compliance of Product with all the
drawings, specifications supplied by the DISTRIBUTOR; Clause 7.5 Both
pa1ties hereto shall be jointly responsible for any and all suits, actions,
claims, judgments, debts, obligations or rights of action of any nature or
description arising from product liability caused by any Drawing that
DISTRIBUTOR submits to SUPPLIER and have confirmed samples, and
that are approved by both parties in writing subject to compliance of
Product with all the drawings and specifications; Clause 8.1 At its sole cost
and expense, SUPPLIER shall cause rejected Nonconforming Units to
confonn to DISTRIBUTOR's specifications. In the event the products units
rejected are not made to conform to DISTRIBUTOR's satisfaction and if
DISTRIBUTOR has paid for such Products, then DISTRIBUTOR shall
promptly grant DISTRIBUTOR an account credit or refund at
DISTRIBUTOR's option, for all Nonconfonning Units rejected by
DISTRIBUTOR; Clause 8.2 DISTRIBUTOR shall have reasonable access
to the facilities of SUPPLIER used for the production ofDISTRIBUTOR's
Products; Clause 9 .1 The term of this Agreement shall be for twenty (20)
years, commencing January 20, 20 I 0, ending on January 20, 2030, and
automatically continuing thereafter for successive one year terms, unless
either pa1ty gives notice of cancellation to the other at least Sixty (60)days
in advance of the anniversary renewal date, or sooner terminated as a result
                                     57
of a material breach by either party; Clause 9.2 During the             ;.e:-
Agreement and within three(3)years after termination of this .-\-    0,-b:'
                                                                         ...::£i.'.:~-
the agreement is breached by supplier, SUPPLlER agrees dr:.
refrain from communicating whatsoever and/or setting up a:::b~
relationship with Customer directly or indirectly, and further ag;rttS
the event that any Customer contacts SUPPLIER to purchase the Pn-,.--,
SUPPLIER shall            promptly forward said communic.,,;iorJ to
DISTRIBUTOR in writing, whether said communication is o: e-mail.
facsimile, mail or otherwise; The Distributor will have and increa.~ I                 a
year for the first 2 years; Clause 10 BREACH OF co,--:---:ACT.
SUPPLIER will pay to DISTRIBUTOR one million CS                                      31S
(USO 1,000,000.00) as liquidated damages for breach of Clause 3. C.....::se - .
Clauses, Clause 6, Clause 7, Clause 8 and Clause 9.2 of this Agie:t:mer ~.
SUPPLIER. Distributor will pay to supplier one mi_ on                                  S
dollars(USDI000, 000.00), as liquidated damages for breach ofC ~ :.
Clause 4, Clause 5, Clause 6, Clause 7, Clause 8 and Clause Q-2 of ·
Agreement by Distributor.; Clause 11.3 This Agreement shall be~ e-wed,
construed, and interpreted under the laws of the People's Republic~ ·3ima..
excluding rules of conflicts of law; Clause 11.4 All disputes arisin~ ~or
 in connection with this Agreement if possible be settled amicabl~ ~~.Ji
 friendly negotiation. In case no settlement can be reached, either~ ~
 require the Qingdao Arbitration Commission to settle the disr'!U1e in
 accordance with its currently valid arbitral rules. The arbitration sh.st :..:.a.e
 place in Qingdao, and the language to be used in the arbitral proctte. ffSS
shall be English; Clause J 1.5 The official language of this Ag.teem~ is
 English and all notices, reports, orders, instructions, literature, reco«b and
 other written materials pe1taining to this Agreement will be mai.nrai:ned 311d
 delivered in English; Clause 11. 7 In the event that one or more of the
 provisions in this Agreement shall, for any reason, be held by a C'OIIlt or
 arbitration tribunal of competent jurisdiction to be invalid. ,oid or
 unenforceable in any respect, such holing shall not affect an~ other
 provisions of this Agreement; Clause 11.8 The failure of either ~ 10
 insist, in one or 1uore instances, upon strict performance of the obligations
 of this Agreement, or to exercise any right contained herein shall not be
 constmed as a waiver, or relinquishment for the future, of such obligarion or
 right, which shall remain and continue in full force and effect. It is agreed
  in the Addendum A that, if the annual sales is less than USDl 0,000. 000.00.
 the supplier will have 8% profits before taxes; lf the annual sales is between
  USDI 0,000,000.00 to 20,000,000, the supplier will have 6% profits before
 taxes; Tfthe annual sales is more than USD20,000,000.00, the supplier \\;II
  have 5% profits before taxes.
      2 The Claimant issued 28 commercial invoices to the Respondent and
  LASCANOPYARVIK OY respectively on August 22, August 26, August
  28, September 9 (2 invoices), September 10, September 13, September I6,
  September 18, September 22, September 23, September 26, September 30,
                                           58
October 8 (2 invoices), October 10, October 11, October 14, October 18,
October 21, October 25, October 28, October 30, November 4, November
11 (2 invoices), November 14, November 21, 2013, and the total amount
of goods recorded on the invoices is USDl 278496.82. The Claimant made
export customs declaration for the 28 shipments of goods in 32 times to
the Rizhao Customs of P.R. China and Qingdao HL1angdao Customs. It is
recorded on the Expo1t Customs Declaration Fonns of the People's
Republic of China that the total FOB value of the 28 shipments of goods is
USO 1286758.50. The B/Ls coJTesponding to the commercial invoices
issued by the Claimant proves that the consignees on the 28 B/Ls for the
28 shipments of goods are the Respondent, COSTCO WHOLESALE
CANADA LTD and LASCANOPYARVIKE OY respectively.
    3 Jenny Zhang, one of the Claimant's working staff, sent emails to
Brian Goldwitz, the legal representative of the Respondent on December
23, 2013, January 6 and January 7, 2014, requiring the Respondent to pay
the delayed payment for goods, but without any answer from the
Respondent.
    4 The Claimant sent the Notice of Avoidance of Contract to the
Respondent through TNT Express Company on August 7, 2015. Since the
Respondent refused to pay the USO 1270000.00 for the goods between
March 28, 2013 and May 3, 2013, according to Clause 9.1 of the
Distribution Agreement, the Claimant noticed the Respondent to avoid the
Distribution Agreement, and required the Respondent to pay all the
USD1270000.00 and the interest USD 117699.00 to the Claimant within 5
days after the C laimant mailed the Notice. The Respondent received the
Notice of Dissolution of Contract on August 18, 2015.
    5 The Respondent received 71 times of complaints on the quality of ice
hockey goals produced by the Claimant, among which 70 was
complaining the quality of net on the ice hockey goals. The Respondent
received three complaints from the clients on the quality of net of ice
hockey goals produced by the Claimant on September 7, 2012, May 7,
2013 andJune5,2013.
    6 Between September 20, 2010 and December 28, 2013, the
Respondent sent to the Claimant      24 emails to require the Claimant to
improve the technology and quality of the ice hockey goals and avoid
complaints from clients, among which required the Claimant to pay
attention to the aging of the goal net 2 times and required to solve the
quality problems in package and iron pipes in the ice hockey goals, etc.
The Claimant confirmed that there is technological and quality problems
in some products in the reply emails .
    7 On April 15, 2010, April 29, 2010, June 13, 2010 and June 21, 2010,
the emails between the legal representative of the Respondent Brian
Goldwitz and Mao Jian Jun prove that the Respondent had entrusted Mao
Jian Jun to produce the ice hockey goal net. The email between the legal
representative of the Respondent Brian Goldwitz and Jenny of the
                                    59
                Claimant on June 21, 20 l Oproves that the producer of ice hocke~   ~   net
                made price offer to the Respondent separately, and the Respr!"denl
                determined the final producer and price of the ice hockey goal neL
                    8 The Respondent had deducted from the payment that should be g;' en
                to the Claimant to compensate the loss caused by return of products b: the
                clients due to unqualified products produced by the Claimant in 2010.
                2011, 2012 and 2013.
                    9 From 20 IO to 2012, recommended by the Respondent, the Chimanr
                entrusted the Respondent to buy 4 sewing machines and components.. the
                payment for the machines and freight had been deducted from me
                payment that should be made to the Claimant for the products.
                     10 In April 2010, the legal representative of the RespondenL Brian
                Goldwitz, went to Canada to show and install canopies for the Claim:mr·s
                client CTC. Between June and October, 2010, the Respondent ;:i•. e
                suggestion on some words, grammar, typesetting and a1Tangemeot cf the
                advertisement to be published on the magazine of Global Source. and
                revised it.
                     11 1n October 2010, the Claimant made the PPT advertisement
                materials for describing the products to the client CTC. The Respondent
                gave suggestions on some words and pictures of it and revised iL
                     12 ln June 2010, the Claimant put forward a revision scheme for the
                37-1398 shelters, the Respondent assisted the Claimant to revise it and
                made the written explanations of the improvement scheme. The scheme
                was approved by the client CTC. ln July 20 I0, the Respondent assisted the
                Claimant to make and complete the user's manual for the new products of
                37-1398 shelters, which was delivered to CTC.
                     13 Since the Respondent's legal representative Brian Goldwi12
                marketed the Respondent's own product of SHELTERIT in the emails
                between Brian and Christina Boldy of CTC, in October, 20 l 0. Christina
                Boldy of CTC clearly required the Respondent in his email to the
                Respondent to copy all the emails between them to the Claimant: 1n the
                mean time, CTC reminded the Claimant th rough email that they had to
                believe that the Respondent's legal representative Brian Goldwirz was
                marketing his own product of SHELTERlT, instead of the Respondem·s
                product, to CIC, and the way of doing was not in accordance v.tilh the
                cooperation contents deten11ined by the Claimant and CTC. On October
                20 I 0, the Claimant clearly required the Respondent through email that the
                Respondent must copy all the emails between the Respondent and CTC to
                the Claimant, should not break the rule and directly contact with Christina
                Boldy of CTC instead of Shanghai Office of CIC.
                     14 Between January and May, 201 1, the Respondent provided photos
                and adve1tisement pictures of 37- 1107 and 37- 1112 shelters to the
                Claimant, assisted the Claimant to design and make the user's manuals of
                the products above, however, there are the Respondent's own brand
-   ... -   .   SHELfERIT and the Respondent's contact number in some photos and
                                                    60
advertisement pictures provided by the Respondent. In the mean time, the
Claimant had entrusted a person not involved in the case to perfect and
revise the user's manual for 37- 1112 shelters.
     15 In November 2012, when the Claimant took part in the exhibition in
the United States, the Claimant was accused by Shelterlogic Company for
infringing its trademark and patent with the exhibited product and pictures.
The main pictures were provided by Brain Goldwitz, the legal
representative of the Respondent. Hence, the Claimant consulted the
Respondent on how to deal with it. The Respondent provided the strategy
and method to cope with it, and gave suggestions to the Claimant on
improvement of products and avoiding infringement of trademark and
patent of others.
    16 Between May and June, 2013, the Respondent provided order
directions and product specifications of l 934878x8 shelters to the
Claimant, and assisted the Clai1nant to produce the type of products. The
products were all sold to the Respondent.
    17 ln June 20 I3, the Claimant put forward an improvement scheme of
pipe fittings coupling and securing technology for shelters. Brain
Goldwitz, the legal representative of the Respondent, gave his own
technical analysis opinions and suggestions on the scheme.
    18 Between July and August, 2013, the Respondent provided some
photos, assisted the Claimant to make and complete the user's directions
for I0x20 shelters.
    19 On October 27, 2010, the Claimant proposed in the email to the
Respondent that the price offer planned to be provided to CTC for the four
types of products shall include the 8% of the Respondent.
    20 On October 17, 20 I3, the Claimant applied for trademark
registration for "Weather Fast" abroad, the applicable products include the
climbing canopy.
    2 I According to the written material The Information of Ex:port
Customs Declaration Form. Trading Countries. Quantities and Amounts,
etc. of Mobile Shelters (HS code: 94060000) and Canopies (HS code:
63062200) Exported between January 20, 2010 and July 31, 2015 by
Ri.zhao J&J J\1anufacturing Co., Ltd., the amount of mobile shelters and
synthetic fibre canopies expo1ted by the Claimant to U.S. and Canada
from Janua1y 20, 2010 to July 31, 2015 is USD34762935.00, the amount
of mobile shelters and synthetic fibre canopies exported by the Claimant
to Finland, Sweden, Norway, Panama, Australia, Denmark, Japan, Russia,
and Ireland from January 20, 2010 to July 3 I, 20 I 5 is USD3738573.00,
and the total amount is USD3850 I 508.00. In the column of "Description
of commodity" in the written material issued by Qingdao Customs above,
the "movable house" and "Synthetic fibre canopy" were filled, however,
the Customs Declaration Form of Export Goodt of the People 's Republic
of China provided by the Claimant and corresponding to the written
evidence of Qingdao Customs proves that the "movable house" includes
                                    61
the mobi le shelter and movable house for animals, according to Clause 2.4
of the Distribution Agreement, the movable house for animals does not
belong to the "Product" agreed in the Distribution Agreement, and the
Claimant has the right to sell by itself In the mean time, there is no
specific type of "movable house" in the written material issued by
Qingdao Custoins, therefore, it cannot be determined whether the mobile
shelter in the "movable house" belongs to 37- 1398, 37-1107, 37-1112 or
1Ox20 shelters or not, i.e., whether it belongs to the goods that must go
through the order of the Respondent as agreed in Clause l .4 in the
Distribution Agreement. Some Customs Declaration Forms of Export
Goods of the People 's Republic of China provided by the Claimant and
corresponding to the written evidence of Qingdao Customs proves that the
"movable house" includes movable houses for animals of
USD2751228. 72, mobile shelters of USD4010070.28 of types other than
37-1398, 37- 1107, 37- 1112 or IOx20, and mobile shelters of
USDl4430207.20 with no type. Moreover, according to Item 2, Article 6,
Regulations of the People's Republic of China on Inspection Conducted
by the Customs, the customs declaration forms, export and import bills,
contract and other materials directly related with the import and export
business shall be kept on fLle for three years after the date of release of the
impo1ted or exported goods.
    22 ln 201 I, 2012 and 2013, the sales amounts of the Claimant through
the      Respondent      are    USD 1985406.90,       USD 1692682.30       and
USDI286758.50 respectively, in sum USD4964847.70. The Respondent
has not paid any profit before tax for the goods above to the Claimant.
    23 The audit report, tax statement, profit and loss statement submitted
by the Claimant show that the net profit of the Claimant in 2011-2014 is in
deficit.
    24 The Claimant was established on January 28, 2002, the industrial
and commercial registration information had been changed for three times
between July 2006 and July 2016, but the items of change had not
involved the Respondent.
    The issues in dispute between both the parties:
    1) Whether the Distribution Agreement signed between the Claimant
        and the Respondent on January 20, 20 IO is a contract with clause
        de style, whether there is clause de style which is obviously unfair
        and increases the obligations of the Claimant and eliminates the
        rights of the Claimant.
    2) Whether the Respondent has received the 28 shipments of goods
        and their relevant price.
    3) Whether the 28 shipments of goods have quality problem. If the
        answer is yes, each pa1ty's respective right and obligation.
    4) Whether the prerequisite of the Respondent's exclusive sales right
        and profit distribution right in the Agreement is based on the
        changes to the organization structure of the Claimant in the forms
                                      62
        of investment, buying share, joint venture and acquisition, etc. by
        the Respondent.
    5) The definition and scope of "Product" which the Respondent has
        the exclusive right to distribute all over the world according to
        Clause 3 of the Distribution Agreement, and whether the Claimant
        has infringed the Respondent's right stipulated in the Distribution
        Agreement.
    6) Whether the Claimant has infringed the Respondent's right in
        Clause 1.4 of the Distribution Agreement and breached the
        Distribution Agreement.
    7) Whether the arbitration claims filed by the Claimant and the
        counter claims filed by the Respondent should be supported or not.
V Opinions of the Tribunal
 I The effectiveness of the Distribution Agreement and whether the
Distribution Agreement is a contract with clause de style, whether it is
clause de style which is obviously unfair and increases the liabilities of the
Claimant and eliminates the rights of the Claimant.
       The Distribution Agreement concluded between the Claimant and
the Respondent on January 20, 20 IO is an agreement that the Respondent
shall have exclusive right to distribute some of the products all over the
world, and exclusive distribution is a commercial cooperation mode being
used widely. In the Distribution Agreement, on the basis of negotiation
and agreement of both the parties, the respective rights and obligations of
the Claimant and Respondent are agreed specifically, and the
responsibi Iity of breach of each party is agreed equally. The clauses in the
Distribution Agreement neither increase the obligations of the Claimant
nor eliminate the rights of the Claimant, and there is no obviously unfair
tenns. Tn the mean time, the Distribution Agreement is not a contract
which was prepared in advance by the Respondent for repetitive use or a
contract without negotiation with the Claimant in the course of concluding
the con tract.
       It is agreed in Clause 11 .3 of the Distribution Agreement, "This
Agreement shall be governed, construed, and interpreted under the laws of
the People's Republic of China". ft is stipulated in Item 2, A1ticle 39 of the
Contract Law in China, "Standard terms are contract provisions which
were prepared in advance by a patty for repeated use, and which are not
negotiated with the other pa1ty in the course of concluding the contract."
Therefore, the Tribunal holds that the Distribution Agreement is legal
effective and binding on the both the parties as it is the true intention of
both the C laimant and the Respondent, other than a contract with clause de
style, and its contents and form do not breach the obligatory regulations
in laws on contract effectiveness. Both the parties shall legally have the
rights and undertake the obligations stipulated in the D istribution
Agreement.
2 Whether the Respondent has received the 28 shipments of goods and
                                      63
their price
      l) Whether the Respondent has received the 28 shipments of goods
         The coID111ercial invoices issued by the Claimant and the
         corresponding B/Ls prove that, between August 22 and
         November 21, 2013, the Claimant issued 28 commercial invoices
         to the Respondent, and the total value on the invoices is
         USD 1278496.82; The Customs Declaration Forms of Expotted
         Goods of the People's Republic of China prove that the Claimant
         made customs declarations of exported goods to the Rizhao
         Customs or Qingdao 1-Iuangdao Customs in 32 times for the 28
         shipments of goods, and the FOB price of the 28 shipments of
         goods in the Customs Declaration Fonns of Exported Goods of
         the People's Republic of China is USD1286758.50. The B/Ls
         corresponding to the commercial invoices issued by the Claimant
         prove that the consignees on the 28 B/Ls of the 28 shipments of
         goods are the Respondent, COSTCO WHOLESALE CANADA
         LTD and LASCANOPYARVTK OY respectively.
         As for whether the Respondent has received the 28 shipments of
         goods and the scans of invoices, customs declaration fonns and
         B/Ls through emails, after the legal explanation and questioning
         of the Tribunal, the Respondent answered clearly after checking:
         Respondent has not completed data files for the detailed quantity
         of the received goods, especially for the goods which are not
         shipped to Respondent. Respondent requested the Commission to
         identify based on relevant evidences with respect to the
         consignment and delivery claimed by Claimant; The time span of
         emails sent from Claimant to Respondent is so large, from year
         of 2011 to 2013. There are such a big volume of emails that
         Respondent has not found and confirmed the above emails from
         Claimant. It is agreed in Clause 1 I .4 in the Distribution
         Agreement, "All disputes arising from or in connection with this
         Agreement if possible be settled amicably through friendly
         negotiation. In case no settlement can be reached, either party
         may requires the Qingdao Arbitration Commission to settle the
         disputes in accordance with its currently valid arbitral rules. The
         arbitration shall take place in Qingdao, and the language to be
         used in the arbitral proceedings shall be English ." It is stipulated
         in item 2, Article 43 of the Arbitration Rules of the Commission,
         "Where a party neither admits nor denies the fact stated by the
         counterpa,ty, or not has a clear and definite response to the
         inquiry made by the Arbitral Tribunal, the act of the pmty shall be
         considered as the admission of the fact." ln the mean time, the
         Respondent stated in the arbitration defense that there is serious
         quality problem in the products sold to the Respondent by the
         Claimant, which has led to the client's retw·n of goods sold by the
                                     64
         Respondent, therefore, the Respondent has the right to refuse to
         pay the goods in accordance with the Distribution Agreement, i.e.,
         the Respondent did not deny in the Defense that it has received
         the 28 shipments of goods claimed by the Claimant. Hence, the
         T,ibunal holds that the Respondent has received the 28 shipments
         of goods claimed by the Claimant.
      2) The price of the 28 shipments of goods claimed by the Claimant
         and received by the Respondent
         The total value on the 28 commercial invoices issued by the
         Claimant to the Respondent is USD1278496.82; The Claimant
         made customs declarations of exported goods to the Rizhao
         Customs or Qingdao Huangdao Customs in 32 times for the 28
         shipments of goods, and the FOB price of the 28 shipments of
         goods in the Customs Declaration Forms of Exported Goods of
         the People's Republic of China is USDl 286758.50. Since the
         commercial invoices issued by the Claimant are the fundamental
         basis for the Respondent to pay for the goods, hence, the Tribunal
         holds that, as the value on the commercial invoices is different
         with the value on the customs declaration forms, the value on the
         commercial invoices, i.e., USD 1278496.82 should be regarded as
         the price of the 28 shipments of goods above.
3 Whether there is quality problem in the 28 shipments of products, When
the quality problem appears, the rights and obligations of the Respondent
and the Claimant.
          !)Whether there is quality problem in the 28 shipments of
             products
             Between August 1, 2011 and October 26, 2011, the
             Respondent received 71 times of complains from the clients
             on quality of ice hockey goals produced by the Claimant,
             among which 70 times of complains were on quality of ice
             hockey goal nets. Between September 7, 2012 and June 5,
             2013, the Respondent received other 3 times of complains
             from the clients on quality of ice hockey goal nets produced
             by the Claimant. The emails between the Respondent and
             Mao Jian Jun on April 15, 2010, April 29, 20 I0, June 13, 2010
             and June 21, 2010 prove that the Respondent had entrusted
             Mao Jian Jun to produce the ice hockey goal net; Also, the
             email between the Respondent and the Claimant on June 21,
             201 0 proves that a producer of the ice hockey goal net offered
             price to the Respondent for whom to make the final decision
             on producer and price of the ice hockey goal net. Moreover,
             between September 20, 2010 and December 28, 2013, the
             staff sent to the Claimant by the Respondent had required the
             Claimant 24 times to improve the technology and quality of
             the ice hockey goals through emails, so as to avoid
                                     65
   complaining from clients, but only twice of them were
   requiring the Claimant to pay attention to the aging of the ice
   hockey goal net. Hence, the Tribunal holds that the evidence
   submitted by the Respondent is not sufficient to prove that the
   quality problem in the ice hockey goal net was caused by the
   Claimant.
   Between September 20, 20 IO and December 28, 2013, the
   staff sent to the Claimant by the Respondent had required the
   Claimant 22 times to improve the technology and quality of
   the ice hockey goals (not including the ice hockey goal net)
   through emails, so as to avoid complaining from clients, and
   the Claimant confirmed the technological and quality
   problems existing in some products in the emails answered.
   Hence, the Tribunal holds that there is quality flaw in some
   ice hockey goals (not including the ice hockey goal net) so.Id
   to the Respondent by the Claimant.
2) When the quality problem appears, the rights and obligations
   of the Respondent and the Claimant.
   It is agreed in Clause 8.1 of the Distiibution Agreement, "At
   its sole cost and expense, SUPPLIER shall cause rejected
   Nonconfonning Units to conform to DlSTRIBUTOR's
   specifications. 1n the event the products units rejected are not
   made to conform to DISTRJBUTOR's satisfaction, and if
   DISTRIBUTOR has paid for such Products, then
   DISTRIBUTOR shall promptly grant DISTRIBUTOR an
   account credit or refund, at DISTRIBUTOR's option, for all
   Nonconforming Units rejected by DISTRIBUTOR."
   The Respondent has not provided evidence to prove that the
   Respondent had rejected or returned the unqualified products
   to the Clain1ant according to Clause 8.1 of the Distribution
   Agreement. Both the evidence of the Claimant and the
   Respondent can prove that the Respondent had deduced the
   loss caused by the cl ient's return of goods due to unqualified
   products in 2010, 20 ll , 2012 and 2013 from the payment of
   goods to the Claimant. Furthermore, after the Claimant
   required the Respondent several times on December 23, 2013,
   December 30, 2013, January 6, 2014 and January 7, 2014 to
   pay the delayed payment of goods lhrough emails, the
   Respondent has not required the Clain1anl to compensate the
   loss with the pay1nent for goods due to the unqualified
   products produced by the Claimant. Hence, the Tribunal holds
   that, there is no factual or legal basis for the Respondent to
   refuse to pay the goods with the reason that there is serious
   quality problem in the products sold to the Respondent by the
   Claimant, and that the problem caused huge economic loss to
                           66
                the Respondent.
4 Whether the prerequisite of the Respondent's exclusive sales 1ight and
profit distribution right in the Agreement includes changes to the
organization structure of the Claimant in the fo1ms of investment, buying
share,joint venture and acquisition, etc. by the Respondent.
       It is agreed in Clause I .4 of the Distribution Agreement, "\Vhen the
Distributor makes certain change to the supplier's organization, new
orders from new customers will go through the Distiibutor. New orders
from old customers buying divisions will go through suppliers but the
profit will be split. New products (sku) from new or old customers will go
through the DistTibutor. When the situations listed below happen: the
orders related shall go through the Distributor." But the specific contents
and mode of change of organization are not agreed in the Distribution
Agreement. In the mean time, it is agreed in Clause 4.1 and Clause 4.2 of
the Dist1ibution Agreement, "The relationship between Supplier and
Distributor is that of seller and buyer.", "Nothing in the Agreement shall
be construed or deemed to make any party hereto joint ventures or to
constitute that either party hereto is an agent or employee of the other."
Moreover, after the Distribution Agreement came into force, both the
parties of the Claimant and Respondent have never done negotiation on
the specific contents, forms or time of the change to organization, the
Claimant has never required the Respondent to make any change to the
organization structure in the forms of investment, buying share, joint
venture or acquisition. Hence, the Tribunal holds that, the evidence
submitted by the Claimant is not sufficient to prove that the prerequisite of
the Respondent's exclusive sales right and profit distribution right in the
Agreement is to change the organization st:ructw·e of the Claimant in the
fonns of investment, buying share, joint venture and acquisition, etc. by
the Respondent.
5 The definition and scope of "Product" which the Respondent has the
exclusive right to distribute all over the world according to Clause 3 of the
Distribution Agreement, and whether the Claimant has violated the right
of the Respondent in breach of the agreement in the Distribution
Agreement.
       I) The definition and scope of "Product" which the Respondent has
           the exclusive right to distribute all over the world according to
           Clause 3 of the Distribution Agreement
           It is agreed in Clause 3. I and Clause 3 .2 of the Distribution
           Agreement, "Distributor shall have exclusive light to distribute
           the Product all over the world." "Supplier shall have the right to
           clist1ibute the Product by itself in all other countries excluding
           North America with written approval from the Distributor. The
           supplier shall not appoint any third party -as his distributor and
           agent of the Product without written approval from the
           Distributor". It is agreed in Clause 2.4 and Clause 2.5 of the
                                     67
           Distribution Agreement, "Product shall mean any and all spo1ts
           products, outdoor products, outdoor shelters, fitness equipment,
           trampolines and electronic products, and any other products the
           Distributor introduces or sells, manufactured by the Supplier in
           accordance with the Product Specifications and any part or
           component thereof, whether replacement or not." "Product
           Specifications shall mean the specification relating to the
           manufacturing of Product in sample and bulk form reasonably
           established by Distributor and/or required by the Customer, as
           may be modified from time to time by." It can be seen that the
           Respondent has the exclusive 1ight all over the world only upon
           those products on which the specifications have been given by
           the Respondent and produced by the Claimant.
       2) \\'hether the Claimant has violated the Respondent's right of
           having the exclusive right to distribute "Product" all over the
           world in breach of the agreement in the Distribution Agreement
           Jn May and June, 2013, the Respondent provided directions and
           product specifications for 1934878- 1Ox l Ox8 shelter to the
           Claimant, assisted the Claimant to produce the type of product,
           and all the products of that type were sold to the Respondent.
           There is no evidence to prove that the Respondent have ever
           given other specifications to let the Claimant produce products.
           The Respondent assisting the Claimant to revise, design and
           make user's manual for some products as shelters and giving
           suggestions on the improvement scheme of pipeline fittings
           coupling and securing technology for shelters do not belong to
           the agreement in Clause 2.5 of the Distribution Agreement.
           Hence, the Tribunal holds, the evidence provided by the
           Respondent is not sufficient to prove that there is product as
           agreed in Clause 2.4 and Clause 2.5 of the Distribution
           Agreement other than 1934878-J Ox I Ox8 shelters which were
           arranged to be produced by the Claimant and were all sold to the
           Respondent. Therefore, it is not well established that the
           Claimant has breached the Distribution Agreement, or has
           violated the Respondent's right to exclusively distiibute the
           Product all over the world.
6 Whether the Respondent has performed the obligations agreed in Clause
1.4. 1-1 .4.6 of the Distribution Agreement; Whether the Claimant has
violated the Respondent's right in Clause l.4 of the Distribution
Agreement and in breach of the agreement in the Distribution Agreement.
       1) Whether the Respondent has perfonned the obligations agreed in
           Clause I .4. l-1 .4.6 of the Distribution Agreement
           Lt is agreed in Clause 1.4.1 - 1.4.6 of the Distribution Agreement:
           Brands the product, sets up customer service for the product sold
           in USA, Canada and/or other countries, new products or improve
                                     68
   or upgrade old products, for example upgraded shelter product
   line, changes labeling or packaging, new customers or divisions
   or new buyer of a cuJTent customer, review and redesign the
   products the suppliers in infringing. The evidence provided by
   the Respondent proves that the Respondent has perfon11ed part of
   the obligations above, involving shelters of 37- 1398, 37-1107,
   37-lll2and I0x20.
2) Whether the Claimant has violated the Respondent's right in
   Clause 1.4 of the Distribution Agreement and in breach of the
   agreement in the Distribution Agreement
   It is agreed in Clause 1.4 of the Distribution Agreement, When
   the Disttibutor makes certain change to the supplier's
   organization, new orders from new customers will go through the
   Distributor. New orders from old customers buying divisions will
   go through suppliers but the profit will be split. New products
   (sku) from new or o ld customers will go through the Distributor.
   When the situations listed below happen: the orders related shall
   go through the Distributor. If the Distributor has performed the
   obligations agreed in Clause 1.4.1-1.4.6 of the Distribution
   Agreement, the corresponding order must go through the
    Distributor. It is agreed in Clause 9.1 of the Distribution
    Agreement, "The te1m of this Agreement shall be for 20 years,
   commencing January 20, 2010, ending on January 20, 2030, and
   automatically continuing thereafter for successive one year terms,
    unless either party gives a notice of cancellation to the other at
   least 60 days in advance of the anniversary renewal date, or
   sooner terminated as a result of a material breach by either pa1ty."
    As mentioned above, the Respondent has already performed
   some obligations agreed in Clause 1.4.1-1 .4.6 of the Distiibution
    Agreement, involving shelters of37- 1398, 37-1107, 37-1112 and
    1ox20. Hence, from January 20, 2010, the orders involving
   shelters of 37-1398, 37-1107, 37- 1112 and 10x20 must go
    through the Respondent.
    According to the written material The Information of Export
    Customs Declaration Form, Trading Countries, Quantities and
    Amounts, etc. ~f Mobile Shelters (HS code: 94060000) and
    Canopies (HS code: 63062200) Exported between January 20,
    20 IO and July 3 I, 20 I 5 by Rizhao J&J i\1.anufacturing Co., Ltd.,
    the amount of mobile shelters and synthetic fibre canopies
    exported by the Claimant to U.S., Canada, Finland, Sweden,
    Norway, Panama, Australia, Denmark, Japan, Russia, etc. from
    January 20, 2010 to July 31, 2015 is USD38501508.00. The
    Export Customs Declaration Forms of the People's Republic of
    China provided by the Claimant corresponding to the written
    evidence of Qingdao Customs prove that the mobile shelters and
                                69
          synthetic fibre canopies include the mobile shelters of 37~1398,
          3 7-1 I07, 37-1112 and 10x20. ln the mean ti me, the Claimant has
          not provided any evidence to prove that the Claimant had paid
          profit to the Respondent after selling the mobile shelters above.
          Hence, the Tribunal holds that the Claimant has violated the
          agreement in the Distribution Agreement and has infringed the
          right of the Respondent under Clause 1.4 of the Disttibution
          Agreement.
7 Whether the arbitration claims filed by the Claimant should be supponed
or not
       I) The Claimant's arbitration claim to require the Respondent to pay
           USD1275006.52 for the goods
          As mentioned above, the Respondent has received 28 shipments
          of goods claimed by the Claimant and the price of which is
          USD1278496.82; In the mean time, there is no factual or legal
          basis for the Respondent to refuse to pay the goods with the
          excuse that there is serious quality problem in the goods sold by
          the Claimant which caused huge economic loss to the
          Respondent. It is stipulated in Article I09 of the Contract Law of
          the People's Republic of China, "If a party fails to pay the price
          or remuneration, the other party may require payment thereof."
          Hence, the Tribunal holds that the Respondent should pay
          USD1275006.52 to the Claimant.
      2) The Claimant's arbitration claim to require the Respondent to pay
          the interest for outstanding payment
          It is stipulated in paragraph 4 of Article 24 of the Explanations of
          the Supreme People's Court on Application of Law in Trial of
          Disputes in Sales Contract, "If there is no agreement on
          liquidated damages for outstanding payment or calculation
          method of the liquidated damages, while the seller claims for
          compensation of delayed payment due to breach of the buyer, the
          people's cou1t can use the benchmark rate of RMB loan of
          People's Bank of China in the same period and the same category
          as the base, with reference of the interest rate of delaying
          payment." Obviously, the Claimant's claimed standard of
          benchmark loan rate of People's Bank of China in the same
          period is lower than that of the standard of delaying payment
          stipulated in the judicial explanation in China, and the Tribunal
          supports it. As for the staiting date of calculation of interest, since
          the first email provided by the Claimant requiring the Respondent
          to pay the delaying payment is dated on December 23, 2013, the
          Tribunal holds that the date shall be regarded as the starting date
          to calculate the interest of delaying payment. In summary, the
          Respondent should pay the interest of delayed payment with the
          delayed payment of USDl275006.52 as the principle [Pay in
                                       70
        RMB at the intermediate rate of inter-bank foreign exchange
        market declared by the China Foreign Exchange Trading Center
        authorized by People's Bank of China at the date (December 23,
        2013) of payment), on the basis of the loan rate of the People's
        Bank of China in the same period, calculating from the date of
        December 23, 2013 to the actual date of payment, to the
        Claimant.
     3) The Claimant's arbitration claim to require the Respondent to pay
        the attorney fee and travel expenses relatimg to this case
        The Tribunal holds that, according to the Distribution Agreement,
        only the attorney fee undertaken by the Distributor due to the
        dispute of product quality and defect related with the products
        produced by the Claimant shall be compensated by the Supplier
        while unde1iaking of the atto111ey fee and other expenses caused
        by goods payn1ent dispute are silence in the Agreement. Hence,
        this arbitration claim shall be not supported by the Tribunal.
8 \Vhether the arbitration counterclaims filed by the Respondent should be
supported or not
     I) The Respondent's arbitration counterclaim to require the
        Claimant to pay the sales profit of USDI 015850.95
        The Respondent states, according to Clause I .4 of the
        Distribution Agreement, when the Distributor makes certain
        change to the supplier's organization, new orders from new
        customers will go through the Respondent wh ile new orders from
        the buying divisions of the old customers will go through the
        Claimant but the profit will be equally split, therefore, the
        Claimant should pay the sales profit of USD IO I 5850.95 to the
        Respondent. As stated before, the Respondent has already
        performed some obligations as per agreed in Clause 1.4. 1- 1.4.6
        of the Distribution Agreement, involving shelters of 37- 1398,
        37- 1107, 37-1112 and JOx20. Hence, fro1n January 20, 2010, the
        orders involving shelters of 37-1398, 37-1107, 37-1112 and
         10x20 must go through the Respondent; The Claimant has
        violated the Distribution Agreement and has infringed the right of
        the Respondent in Clause 1.4 of the Distribution Agreement;
        According to the w1itten n1aterial, i.e. The Information of Export
        Customs Declaration Form, Trading Countries, Quantities and
        Amounts. etc. of Mobile Shelters (HS code: 94060000) and
        Canopies (HS code: 63062200) Exported between Janua,y 20,
        2010 and July 3/, 2015 by Rizhao J&J Manufacturing Co., ltd,
        the mobile shelters include mobile houses for animals of
        USD2751228.72 and mobile shelters of types other than 37- 1398,
        37-1107, 37- 1112 and IOx20 of USD4010070.28 as well as
        mobile shelters without any model of USD14430207.20. The
        total value of USD2 I 19 I 506.20 mobile houses for animals,
                                   71
rnobile shelters of types other than 37-1398, 37-1107, 37-1112
 and I 0x20 as well as mobile shelters of without any model do not
 belong to the products that must go through the Respondent, as
 agreed in Clause 1.4 of the Distribution Agreement. Hence, the
Tribunal holds that, as stated in the written evidence from
 Qingdao Customs service, the mobile shelters and synthetic fibre
 canopies exported by the Claimant to U.S., Canada, Finland,
 Sweden, Norway, Panama, Australia, Denmark, Japan, Russia,
etc. from January 20, 20 IO to July 31, 2015 is USD38501508.00,
among which the goods must go through the Respondent as
agreed in Clause 1.4 of the Disb·ibution Agreement worth
 USD I 7310001.80. The email evidence dated on October 27,
2010 provided by the Respondent proves that the Claimant stated
 that the price offer for the four types of products planned to be
 provided to CTC includes the 8% of the sales amount belonging
 to the Respondent. According to the agreement in Clause 1.4 of
the Distribution Agreement, when the Respondent makes certain
change to the Claimant's organization, new orders from new
customers will go through the Respondent while new orders
from buying divisions of the old customers will go through the
Claimant but the profit will be split. Both the Claimant and the
 Respondent confirm that the Respondent has not made any
change to the organization of the Claimant; In the mean time,
both the parties have not agreed on the proportion of distribution
of profit. Moreover, according to the audit report and taxation
statement as well as the profit & loss statement provided by the
Claimant, the net profit of the Claimant dw·ing 2011-2014 is in
deficit. 1t is agreed in the Addendum A that, if the annual sales is
less than USDl0,000, 000.00, the supplier will have 8% profits
before taxes; if the annual sales is between USDl0,000,000.00 to
20,000,000, the supplier will have 6% profits before taxes; if the
annual sales is more than USD20,000,000.00, the supplier will
have 5% profits before taxes. In 2011, 2012 and 2013, the value
of goods sold by the Claimant through the Respondent is
USDl 9854096.90, USD1692682.30 and                 USD1286758.50
respectively, in sum USD4964847.70, but the Respondent has not
paid the profit before taxes to the Claimant according to the
Distribution Agreement. In the mean time, the evidence provided
by the Respondent proves that the Respondent has only
pe1tormed part of its obligations agreed in Clause 1.4.1 - 1.4.6 of
the Distribution Agreement. Comprehensively considering the
factors above, the Tribunal holds that, the Respondent claims to
distribute the sales profit of 6% tor the mobile shelters and
canopies sold by the Claimant separately, however, it is fair for
each party to have the Respondent share 3% of the value of the
                            72
         goods for the goods of USO17310001.80 St)ld by the Claimant
         separately between .January 20, 2010 and July 31, 2015 under the
         order which must go through the Respondent as agreed in Article
          I .4 of the Dist1ibution Agreement. Therefore, the Claimant
         should pay sales profit ofUSD5 I 9300.05 to the Respondent.
      2) The Respondent's arbitration counterclaim to require the
         Claimant to pay the liquidated damages of USDJ 000000.00
         The Respondent stated that the Claimant has seriously violated
         the Distribution Agreement by selling large quantity of products
         to U.S. and North America without going through the Respondent,
         especially from 2013. According to Clause IO of the Distribution
         Agreement, the Claimant should pay the Respondent the
          Iiquidated damages of USO I 000000.00. It is agreed in Article 10
         of the Distribution Agreement saying that ''Supplier will pay to
         Distributor one million US dollars (USD 1,000,000.00), as
          liquidated damages for breach of Clause 3, Clause 4, Clause 5,
         Clause 6, Clause 7, Clause 8 and Clause 9.2 of this Agreement by
         Supplier." As stated above, according to the Distribution
         Agreement, the Respondent shall have the exclusive right to
         distribute only the product produced by the Claimant as per the
         specifications required by the Respondent all over the world. The
         evidence provided by the Respondent is not sufficient to prove
         that the Claimant has violated the Distribution Agreement or
          infringed the exclusive 1ight to distribute the product all over the
         world. Hence, this arbitration counterclaim shall not be supported
         by the Tribunal.
      3) The Respondent's arbitration claim to require the Claimant to pay
         the attorney fee and travel expenses relating to conducting this
         case
         The Tribunal holds that, according to the Distribution Agreement,
         only the attorney fee due to the dispute of product quality and
         defect related with the products shall be compensated by the
         Supplier while undertaking of the attorney fee and other expenses
         caused by goods payment dispute are silence in the Agreement.
         Hence, this arbitration counterclaim of the Respondent shall be
         not supported by the Tribunal.
9 Allocation of arbitration cost
      According to the Arbitration Rules, the respective arbitration fee for
the claim and counterclaim of this Case shall be allocated between the
parties based on the proportion it wins or loses.
VI Award
 I The Respondent shall pay USDl275006.52 to the Claimant for the
amount of the goods.
2 The Respondent shall pay interest to the Claimant for the outstanding
payment of USD 1275006.52 (Converted into RMB7798067.38 yuan at the
                                     73
intermediate rate of inter-bank foreign exchange market declared by the
China Foreign Exchange Trading Center authorized by People's Bank of
China at the date of due payment), calculating from the date of December
23, 20 I3 to the date of actual payment (termporarily calculated as RMB
2286891.57 yuan at the date of issuance of this Award).
3 The Claimant shall pay USDS 19300.05 as the sales profit to the
Respondent.
4 Reject I.he Claimant's any other arbitration claims.
5 Reject the Respondent's any other arbitTation counterclaims.
6 The arbitration fee for the claim cost of the Case is RMB63892.00 yuan,
which shall be undertaken by the Respondent. Since the Claimant has paid
all the arbitration fee above, the Respondent shall pay its arbitration fee
directly to the Claimant. The arbitration fee for the counterclaim cost of
the Case is RMB87389.00 yuan, among which the Claimant shall
unde1take RMB225 I 2.00 yuan, and the Respondent shall undertake
RMB64877.00 yuan. Since the Respondent has paid all the arbitration fee,
the Claimant shall pay its ratio of arbitration fee directly to the Claimant.
      ln summary, the Respondent should pay the Claimant
RMB232827 I .57 yuan, USD755706.47 within IO days after receipt of this
Award, and otherwise, should pay interest at the double rate for any
outstanding payment if which is delayed.
      The Award is final and shall come into force on the date it is
rendered.




                                  Presiding Arbitrator:   ~11) f:l,"




                                     74
